Case 1:19-cv-01618-TSC   Document 1-5    Filed 06/03/19   Page 1 of 128




             ICSID CONVENTION,
                REGULATIONS
                 AND RULES




                        International Centre for
                  Settlement of Investment Disputes
                           1818 H Street, N.W.
                    Washington, D.C. 20433, U.S.A.
Case 1:19-cv-01618-TSC   Document 1-5       Filed 06/03/19   Page 2 of 128




                             ICSID/15
                             April 2006
                           . Not for resale .
Case 1:19-cv-01618-TSC                     Document 1-5                    Filed 06/03/19                  Page 3 of 128
                                 Summary Table of Contents

                                                                                                               Page

        Introduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     5


        Convention on the Settlement of Investment Disputes between
        States and Nationals of Other States . . . . . . . . . . . . . . . . . . . . . . . . .                   7


        Report of the Executive Directors of the International Bank for
        Reconstruction and Development on the Convention on the
        Settlement of Investment Disputes between States and Nationals
        of Other States . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     35


        Administrative and Financial Regulations . . . . . . . . . . . . . . . . . . . .                        51


        Rules of Procedure for the Institution of Conciliation and
        Arbitration Proceedings (Institution Rules) . . . . . . . . . . . . . . . . . .                         73


        Rules of Procedure for Conciliation Proceedings
        (Conciliation Rules) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        81


        Rules of Procedure for Arbitration Proceedings
        (Arbitration Rules) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       99




                                                                                                                 3
Case 1:19-cv-01618-TSC   Document 1-5   Filed 06/03/19   Page 4 of 128
Case 1:19-cv-01618-TSC          Document 1-5          Filed 06/03/19        Page 5 of 128
                                    Introduction
             The International Centre for Settlement of Investment Disputes
        (ICSID or the Centre) is established by the Convention on the Settle-
        ment of Investment Disputes between States and Nationals of Other
        States (the ICSID Convention or the Convention). The Convention was
        formulated by the Executive Directors of the International Bank for
        Reconstruction and Development (the World Bank). On March 18,
        1965, the Executive Directors submitted the Convention, with an
        accompanying Report, to member governments of the World Bank for
        their consideration of the Convention with a view to its signature and
        ratification. The Convention entered into force on October 14, 1966,
        when it had been ratified by 20 countries. As at April 10, 2006, 143
        countries have ratified the Convention to become Contracting States.
             In accordance with the provisions of the Convention, ICSID pro-
        vides facilities for conciliation and arbitration of investment disputes
        between Contracting States and nationals of other Contracting States.
        The provisions of the ICSID Convention are complemented by Regula-
        tions and Rules adopted by the Administrative Council of the Centre
        pursuant to Article 6(1)(a)–(c) of the Convention (the ICSID Regula-
        tions and Rules).
             The ICSID Regulations and Rules comprise Administrative and
        Financial Regulations; Rules of Procedure for the Institution of Concilia-
        tion and Arbitration Proceedings (Institution Rules); Rules of Procedure
        for Conciliation Proceedings (Conciliation Rules); and Rules of Proce-
        dure for Arbitration Proceedings (Arbitration Rules). The latest amend-
        ments of the ICSID Regulations and Rules adopted by the Administrative
        Council of the Centre came into effect on April 10, 2006.
             Reprinted in this booklet are the ICSID Convention, the Report of
        the Executive Directors of the World Bank on the Convention, and the
        ICSID Regulations and Rules as amended effective April 10, 2006.




                                                                                5
Case 1:19-cv-01618-TSC   Document 1-5   Filed 06/03/19   Page 6 of 128
Case 1:19-cv-01618-TSC   Document 1-5   Filed 06/03/19   Page 7 of 128




                                                                  Convention
                CONVENTION ON THE
            SETTLEMENT OF INVESTMENT
           DISPUTES BETWEEN STATES AND
            NATIONALS OF OTHER STATES




                                                            7
Case 1:19-cv-01618-TSC   Document 1-5   Filed 06/03/19   Page 8 of 128
Case 1:19-cv-01618-TSC           Document 1-5         Filed 06/03/19          Page 9 of 128

                   CONVENTION ON THE SETTLEMENT OF
                  INVESTMENT DISPUTES BETWEEN STATES
                    AND NATIONALS OF OTHER STATES




                                                                                       Convention
                                  Table of Contents
        Chapter      Section                                       Articles    Page

                               Preamble                                         11

        I                      International Centre for
                               Settlement of Investment Disputes   1-24         12
                     1         Establishment and Organization      1-3          12
                     2         The Administrative Council          4-8          12
                     3         The Secretariat                     9-11         14
                     4         The Panels                          12-16        15
                     5         Financing the Centre                17           16
                     6         Status, Immunities and Privileges   18-24        16

        II                     Jurisdiction of the Centre          25-27        18

        III                    Conciliation                        28-35        19
                     1         Request for Conciliation            28           19
                     2         Constitution of the Conciliation
                               Commission                          29-31        20
                     3         Conciliation Proceedings            32-35        20

        IV                     Arbitration                         36-55        22
                     1         Request for Arbitration             36           22
                     2         Constitution of the Tribunal        37-40        22
                     3         Powers and Functions of
                               the Tribunal                        41-47        23
                     4         The Award                           48-49        25
                     5         Interpretation, Revision and
                               Annulment of the Award              50-52        25
                     6         Recognition and Enforcement
                               of the Award                        53-55        27

        V                      Replacement and Disqualification
                               of Conciliators and Arbitrators     56-58        28

        VI                     Cost of Proceedings                 59-61        29

        VII                    Place of Proceedings                62-63        30

                                                                                  9
Case 1:19-cv-01618-TSC     Document 1-5      Filed 06/03/19      Page 10 of 128
              VIII       Disputes Between Contracting
                         States                          64        30

              IX         Amendment                       65-66     30

              X          Final Provisions                67-75     31
 Convention




                         Signature Clause                          33




              10
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19         Page 11 of 128

                         CONVENTION ON THE
                  SETTLEMENT OF INVESTMENT DISPUTES
                    BETWEEN STATES AND NATIONALS
                           OF OTHER STATES




                                                                                      Convention
                                      Preamble
        The Contracting States

             Considering the need for international cooperation for economic
        development, and the role of private international investment therein;
             Bearing in mind the possibility that from time to time disputes
        may arise in connection with such investment between Contracting
        States and nationals of other Contracting States;
             Recognizing that while such disputes would usually be subject to
        national legal processes, international methods of settlement may be
        appropriate in certain cases;
             Attaching particular importance to the availability of facilities for
        international conciliation or arbitration to which Contracting States
        and nationals of other Contracting States may submit such disputes if
        they so desire;
             Desiring to establish such facilities under the auspices of the Inter-
        national Bank for Reconstruction and Development;
             Recognizing that mutual consent by the parties to submit such dis-
        putes to conciliation or to arbitration through such facilities constitutes
        a binding agreement which requires in particular that due considera-
        tion be given to any recommendation of conciliators, and that any arbi-
        tral award be complied with; and
             Declaring that no Contracting State shall by the mere fact of its rat-
        ification, acceptance or approval of this Convention and without its
        consent be deemed to be under any obligation to submit any particular
        dispute to conciliation or arbitration,
             Have agreed as follows:




                                                                                11
Case 1:19-cv-01618-TSC               Document 1-5          Filed 06/03/19         Page 12 of 128
                                       Chapter I
                                International Centre for
                          Settlement of Investment Disputes
                                         Section 1
 Convention




                               Establishment and Organization

              Article 1

                   (1) There is hereby established the International Centre for Settle-
              ment of Investment Disputes (hereinafter called the Centre).
                   (2) The purpose of the Centre shall be to provide facilities for con-
              ciliation and arbitration of investment disputes between Contracting
              States and nationals of other Contracting States in accordance with the
              provisions of this Convention.

              Article 2

                  The seat of the Centre shall be at the principal office of the Inter-
              national Bank for Reconstruction and Development (hereinafter called
              the Bank). The seat may be moved to another place by decision of the
              Administrative Council adopted by a majority of two-thirds of its
              members.

              Article 3

                  The Centre shall have an Administrative Council and a Secretariat
              and shall maintain a Panel of Conciliators and a Panel of Arbitrators.

                                         Section 2
                                  The Administrative Council

              Article 4

                   (1) The Administrative Council shall be composed of one repre-
              sentative of each Contracting State. An alternate may act as representa-
              tive in case of his principal’s absence from a meeting or inability to act.
                   (2) In the absence of a contrary designation, each governor and
              alternate governor of the Bank appointed by a Contracting State shall
              be ex officio its representative and its alternate respectively.

              Article 5

                 The President of the Bank shall be ex officio Chairman of the
              Administrative Council (hereinafter called the Chairman) but shall

              12
Case 1:19-cv-01618-TSC         Document 1-5         Filed 06/03/19        Page 13 of 128
        have no vote. During his absence or inability to act and during any
        vacancy in the office of President of the Bank, the person for the time
        being acting as President shall act as Chairman of the Administrative
        Council.

        Article 6




                                                                                    Convention
            (1) Without prejudice to the powers and functions vested in it by
        other provisions of this Convention, the Administrative Council shall:
                (a) adopt the administrative and financial regulations of the
                    Centre;
                (b) adopt the rules of procedure for the institution of concilia-
                    tion and arbitration proceedings;
                (c) adopt the rules of procedure for conciliation and arbitra-
                    tion proceedings (hereinafter called the Conciliation Rules
                    and the Arbitration Rules);
                (d) approve arrangements with the Bank for the use of the
                    Bank’s administrative facilities and services;
                (e) determine the conditions of service of the Secretary-Gen-
                    eral and of any Deputy Secretary-General;
                (f) adopt the annual budget of revenues and expenditures of
                    the Centre;
                (g) approve the annual report on the operation of the Centre.
            The decisions referred to in sub-paragraphs (a), (b), (c) and (f)
        above shall be adopted by a majority of two-thirds of the members of
        the Administrative Council.
            (2) The Administrative Council may appoint such committees as it
        considers necessary.
            (3) The Administrative Council shall also exercise such other
        powers and perform such other functions as it shall determine to be
        necessary for the implementation of the provisions of this Convention.

        Article 7

            (1) The Administrative Council shall hold an annual meeting and
        such other meetings as may be determined by the Council, or convened
        by the Chairman, or convened by the Secretary-General at the request
        of not less than five members of the Council.
            (2) Each member of the Administrative Council shall have one
        vote and, except as otherwise herein provided, all matters before the
        Council shall be decided by a majority of the votes cast.
            (3) A quorum for any meeting of the Administrative Council shall
        be a majority of its members.

                                                                              13
Case 1:19-cv-01618-TSC               Document 1-5          Filed 06/03/19        Page 14 of 128
                  (4) The Administrative Council may establish, by a majority of
              two-thirds of its members, a procedure whereby the Chairman may
              seek a vote of the Council without convening a meeting of the Council.
              The vote shall be considered valid only if the majority of the members
              of the Council cast their votes within the time limit fixed by the said
              procedure.
 Convention




              Article 8
                  Members of the Administrative Council and the Chairman shall
              serve without remuneration from the Centre.

                                           Section 3
                                         The Secretariat

              Article 9

                 The Secretariat shall consist of a Secretary-General, one or more
              Deputy Secretaries-General and staff.

              Article 10

                   (1) The Secretary-General and any Deputy Secretary-General shall
              be elected by the Administrative Council by a majority of two-thirds of
              its members upon the nomination of the Chairman for a term of serv-
              ice not exceeding six years and shall be eligible for re-election. After
              consulting the members of the Administrative Council, the Chairman
              shall propose one or more candidates for each such office.
                   (2) The offices of Secretary-General and Deputy Secretary-General
              shall be incompatible with the exercise of any political function. Neither
              the Secretary-General nor any Deputy Secretary-General may hold any
              other employment or engage in any other occupation except with the
              approval of the Administrative Council.
                   (3) During the Secretary-General’s absence or inability to act, and
              during any vacancy of the office of Secretary-General, the Deputy Sec-
              retary-General shall act as Secretary-General. If there shall be more
              than one Deputy Secretary-General, the Administrative Council shall
              determine in advance the order in which they shall act as Secretary-
              General.

              Article 11

                   The Secretary-General shall be the legal representative and the
              principal officer of the Centre and shall be responsible for its adminis-
              tration, including the appointment of staff, in accordance with the pro-
              visions of this Convention and the rules adopted by the Administrative

              14
Case 1:19-cv-01618-TSC         Document 1-5         Filed 06/03/19        Page 15 of 128
        Council. He shall perform the function of registrar and shall have the
        power to authenticate arbitral awards rendered pursuant to this Con-
        vention, and to certify copies thereof.

                                       Section 4
                                      The Panels




                                                                                    Convention
        Article 12

             The Panel of Conciliators and the Panel of Arbitrators shall each
        consist of qualified persons, designated as hereinafter provided, who are
        willing to serve thereon.

        Article 13

            (1) Each Contracting State may designate to each Panel four per-
        sons who may but need not be its nationals.
            (2) The Chairman may designate ten persons to each Panel. The
        persons so designated to a Panel shall each have a different nationality.

        Article 14

            (1) Persons designated to serve on the Panels shall be persons of
        high moral character and recognized competence in the fields of law,
        commerce, industry or finance, who may be relied upon to exercise
        independent judgment. Competence in the field of law shall be of par-
        ticular importance in the case of persons on the Panel of Arbitrators.
            (2) The Chairman, in designating persons to serve on the Panels,
        shall in addition pay due regard to the importance of assuring repre-
        sentation on the Panels of the principal legal systems of the world and
        of the main forms of economic activity.

        Article 15

            (1) Panel members shall serve for renewable periods of six years.
            (2) In case of death or resignation of a member of a Panel, the
        authority which designated the member shall have the right to desig-
        nate another person to serve for the remainder of that member’s term.
            (3) Panel members shall continue in office until their successors
        have been designated.

        Article 16

            (1) A person may serve on both Panels.



                                                                              15
Case 1:19-cv-01618-TSC                Document 1-5           Filed 06/03/19         Page 16 of 128
                  (2) If a person shall have been designated to serve on the same
              Panel by more than one Contracting State, or by one or more Con-
              tracting States and the Chairman, he shall be deemed to have been des-
              ignated by the authority which first designated him or, if one such
              authority is the State of which he is a national, by that State.
                  (3) All designations shall be notified to the Secretary-General and
 Convention




              shall take effect from the date on which the notification is received.

                                            Section 5
                                       Financing the Centre

              Article 17

                  If the expenditure of the Centre cannot be met out of charges for
              the use of its facilities, or out of other receipts, the excess shall be borne
              by Contracting States which are members of the Bank in proportion to
              their respective subscriptions to the capital stock of the Bank, and by
              Contracting States which are not members of the Bank in accordance
              with rules adopted by the Administrative Council.

                                          Section 6
                               Status, Immunities and Privileges

              Article 18

                  The Centre shall have full international legal personality. The legal
              capacity of the Centre shall include the capacity:
                      (a) to contract;
                      (b) to acquire and dispose of movable and immovable property;
                      (c) to institute legal proceedings.

              Article 19

                  To enable the Centre to fulfil its functions, it shall enjoy in the ter-
              ritories of each Contracting State the immunities and privileges set
              forth in this Section.

              Article 20

                  The Centre, its property and assets shall enjoy immunity from all
              legal process, except when the Centre waives this immunity.




              16
Case 1:19-cv-01618-TSC          Document 1-5          Filed 06/03/19         Page 17 of 128
        Article 21

            The Chairman, the members of the Administrative Council, per-
        sons acting as conciliators or arbitrators or members of a Committee
        appointed pursuant to paragraph (3) of Article 52, and the officers and
        employees of the Secretariat




                                                                                       Convention
                (a) shall enjoy immunity from legal process with respect to
                    acts performed by them in the exercise of their functions,
                    except when the Centre waives this immunity;
                (b) not being local nationals, shall enjoy the same immunities
                    from immigration restrictions, alien registration require-
                    ments and national service obligations, the same facilities
                    as regards exchange restrictions and the same treatment in
                    respect of travelling facilities as are accorded by Contract-
                    ing States to the representatives, officials and employees of
                    comparable rank of other Contracting States.

        Article 22

             The provisions of Article 21 shall apply to persons appearing in
        proceedings under this Convention as parties, agents, counsel, advo-
        cates, witnesses or experts; provided, however, that sub-paragraph
        (b) thereof shall apply only in connection with their travel to and from,
        and their stay at, the place where the proceedings are held.

        Article 23

            (1) The archives of the Centre shall be inviolable, wherever they
        may be.
            (2) With regard to its official communications, the Centre shall be
        accorded by each Contracting State treatment not less favourable than
        that accorded to other international organizations.

        Article 24

             (1) The Centre, its assets, property and income, and its operations
        and transactions authorized by this Convention shall be exempt from
        all taxation and customs duties. The Centre shall also be exempt from
        liability for the collection or payment of any taxes or customs duties.
             (2) Except in the case of local nationals, no tax shall be levied on or
        in respect of expense allowances paid by the Centre to the Chairman or
        members of the Administrative Council, or on or in respect of salaries,
        expense allowances or other emoluments paid by the Centre to officials
        or employees of the Secretariat.
             (3) No tax shall be levied on or in respect of fees or expense
        allowances received by persons acting as conciliators, or arbitrators, or

                                                                                 17
Case 1:19-cv-01618-TSC               Document 1-5          Filed 06/03/19        Page 18 of 128
              members of a Committee appointed pursuant to paragraph (3) of Arti-
              cle 52, in proceedings under this Convention, if the sole jurisdictional
              basis for such tax is the location of the Centre or the place where such
              proceedings are conducted or the place where such fees or allowances
              are paid.
 Convention




                                        Chapter II
                                Jurisdiction of the Centre
              Article 25

                   (1) The jurisdiction of the Centre shall extend to any legal dispute
              arising directly out of an investment, between a Contracting State (or
              any constituent subdivision or agency of a Contracting State designated
              to the Centre by that State) and a national of another Contracting State,
              which the parties to the dispute consent in writing to submit to the
              Centre. When the parties have given their consent, no party may with-
              draw its consent unilaterally.
                   (2) “National of another Contracting State” means:
                       (a) any natural person who had the nationality of a Contract-
                           ing State other than the State party to the dispute on the
                           date on which the parties consented to submit such dispute
                           to conciliation or arbitration as well as on the date on
                           which the request was registered pursuant to paragraph (3)
                           of Article 28 or paragraph (3) of Article 36, but does not
                           include any person who on either date also had the nation-
                           ality of the Contracting State party to the dispute; and
                       (b) any juridical person which had the nationality of a Con-
                           tracting State other than the State party to the dispute on
                           the date on which the parties consented to submit such dis-
                           pute to conciliation or arbitration and any juridical person
                           which had the nationality of the Contracting State party to
                           the dispute on that date and which, because of foreign con-
                           trol, the parties have agreed should be treated as a national
                           of another Contracting State for the purposes of this Con-
                           vention.
                   (3) Consent by a constituent subdivision or agency of a Contract-
              ing State shall require the approval of that State unless that State noti-
              fies the Centre that no such approval is required.
                   (4) Any Contracting State may, at the time of ratification, accept-
              ance or approval of this Convention or at any time thereafter, notify the
              Centre of the class or classes of disputes which it would or would not
              consider submitting to the jurisdiction of the Centre. The Secretary-
              General shall forthwith transmit such notification to all Contracting
              18
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19        Page 19 of 128
        States. Such notification shall not constitute the consent required by
        paragraph (1).

        Article 26

             Consent of the parties to arbitration under this Convention shall,




                                                                                     Convention
        unless otherwise stated, be deemed consent to such arbitration to the
        exclusion of any other remedy. A Contracting State may require the
        exhaustion of local administrative or judicial remedies as a condition of
        its consent to arbitration under this Convention.

        Article 27

             (1) No Contracting State shall give diplomatic protection, or bring
        an international claim, in respect of a dispute which one of its nation-
        als and another Contracting State shall have consented to submit or
        shall have submitted to arbitration under this Convention, unless such
        other Contracting State shall have failed to abide by and comply with
        the award rendered in such dispute.
             (2) Diplomatic protection, for the purposes of paragraph (1), shall
        not include informal diplomatic exchanges for the sole purpose of facil-
        itating a settlement of the dispute.


                                    Chapter III
                                    Conciliation
                                    Section 1
                              Request for Conciliation

        Article 28

            (1) Any Contracting State or any national of a Contracting State
        wishing to institute conciliation proceedings shall address a request to
        that effect in writing to the Secretary-General who shall send a copy of
        the request to the other party.
            (2) The request shall contain information concerning the issues in
        dispute, the identity of the parties and their consent to conciliation in
        accordance with the rules of procedure for the institution of concilia-
        tion and arbitration proceedings.
            (3) The Secretary-General shall register the request unless he finds,
        on the basis of the information contained in the request, that the dis-
        pute is manifestly outside the jurisdiction of the Centre. He shall forth-
        with notify the parties of registration or refusal to register.


                                                                               19
Case 1:19-cv-01618-TSC               Document 1-5          Filed 06/03/19        Page 20 of 128
                                         Section 2
                       Constitution of the Conciliation Commission

              Article 29

                  (1) The Conciliation Commission (hereinafter called the Commis-
 Convention




              sion) shall be constituted as soon as possible after registration of a
              request pursuant to Article 28.
                  (2) (a) The Commission shall consist of a sole conciliator or any
                          uneven number of conciliators appointed as the parties
                          shall agree.
                      (b) Where the parties do not agree upon the number of con-
                          ciliators and the method of their appointment, the Com-
                          mission shall consist of three conciliators, one conciliator
                          appointed by each party and the third, who shall be the
                          president of the Commission, appointed by agreement of
                          the parties.

              Article 30

                   If the Commission shall not have been constituted within 90 days
              after notice of registration of the request has been dispatched by the
              Secretary-General in accordance with paragraph (3) of Article 28, or
              such other period as the parties may agree, the Chairman shall, at the
              request of either party and after consulting both parties as far as possi-
              ble, appoint the conciliator or conciliators not yet appointed.

              Article 31

                   (1) Conciliators may be appointed from outside the Panel of Con-
              ciliators, except in the case of appointments by the Chairman pursuant
              to Article 30.
                   (2) Conciliators appointed from outside the Panel of Conciliators
              shall possess the qualities stated in paragraph (1) of Article 14.

                                           Section 3
                                   Conciliation Proceedings

              Article 32

                  (1) The Commission shall be the judge of its own competence.
                  (2) Any objection by a party to the dispute that that dispute is not
              within the jurisdiction of the Centre, or for other reasons is not within
              the competence of the Commission, shall be considered by the Com-


              20
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19        Page 21 of 128
        mission which shall determine whether to deal with it as a preliminary
        question or to join it to the merits of the dispute.

        Article 33

            Any conciliation proceeding shall be conducted in accordance with




                                                                                     Convention
        the provisions of this Section and, except as the parties otherwise agree,
        in accordance with the Conciliation Rules in effect on the date on which
        the parties consented to conciliation. If any question of procedure arises
        which is not covered by this Section or the Conciliation Rules or any
        rules agreed by the parties, the Commission shall decide the question.

        Article 34

             (1) It shall be the duty of the Commission to clarify the issues in
        dispute between the parties and to endeavour to bring about agreement
        between them upon mutually acceptable terms. To that end, the Com-
        mission may at any stage of the proceedings and from time to time rec-
        ommend terms of settlement to the parties. The parties shall cooperate
        in good faith with the Commission in order to enable the Commission
        to carry out its functions, and shall give their most serious considera-
        tion to its recommendations.
             (2) If the parties reach agreement, the Commission shall draw up a
        report noting the issues in dispute and recording that the parties have
        reached agreement. If, at any stage of the proceedings, it appears to the
        Commission that there is no likelihood of agreement between the par-
        ties, it shall close the proceedings and shall draw up a report noting the
        submission of the dispute and recording the failure of the parties to
        reach agreement. If one party fails to appear or participate in the pro-
        ceedings, the Commission shall close the proceedings and shall draw up
        a report noting that party’s failure to appear or participate.

        Article 35

            Except as the parties to the dispute shall otherwise agree, neither
        party to a conciliation proceeding shall be entitled in any other proceed-
        ing, whether before arbitrators or in a court of law or otherwise, to
        invoke or rely on any views expressed or statements or admissions or
        offers of settlement made by the other party in the conciliation proceed-
        ings, or the report or any recommendations made by the Commission.




                                                                               21
Case 1:19-cv-01618-TSC               Document 1-5          Filed 06/03/19        Page 22 of 128
                                           Chapter IV
                                           Arbitration
                                          Section 1
                                    Request for Arbitration
 Convention




              Article 36

                  (1) Any Contracting State or any national of a Contracting State
              wishing to institute arbitration proceedings shall address a request to
              that effect in writing to the Secretary-General who shall send a copy of
              the request to the other party.
                  (2) The request shall contain information concerning the issues in
              dispute, the identity of the parties and their consent to arbitration in
              accordance with the rules of procedure for the institution of concilia-
              tion and arbitration proceedings.
                  (3) The Secretary-General shall register the request unless he finds,
              on the basis of the information contained in the request, that the dis-
              pute is manifestly outside the jurisdiction of the Centre. He shall forth-
              with notify the parties of registration or refusal to register.

                                          Section 2
                                 Constitution of the Tribunal

              Article 37

                  (1) The Arbitral Tribunal (hereinafter called the Tribunal) shall be
              constituted as soon as possible after registration of a request pursuant
              to Article 36.
                  (2) (a) The Tribunal shall consist of a sole arbitrator or any uneven
                           number of arbitrators appointed as the parties shall agree.
                       (b) Where the parties do not agree upon the number of arbi-
                           trators and the method of their appointment, the Tribunal
                           shall consist of three arbitrators, one arbitrator appointed
                           by each party and the third, who shall be the president of
                           the Tribunal, appointed by agreement of the parties.

              Article 38

                  If the Tribunal shall not have been constituted within 90 days after
              notice of registration of the request has been dispatched by the Secre-
              tary-General in accordance with paragraph (3) of Article 36, or such
              other period as the parties may agree, the Chairman shall, at the request
              of either party and after consulting both parties as far as possible,

              22
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19         Page 23 of 128
        appoint the arbitrator or arbitrators not yet appointed. Arbitrators
        appointed by the Chairman pursuant to this Article shall not be nation-
        als of the Contracting State party to the dispute or of the Contracting
        State whose national is a party to the dispute.

        Article 39




                                                                                      Convention
            The majority of the arbitrators shall be nationals of States other
        than the Contracting State party to the dispute and the Contracting
        State whose national is a party to the dispute; provided, however, that
        the foregoing provisions of this Article shall not apply if the sole arbi-
        trator or each individual member of the Tribunal has been appointed
        by agreement of the parties.

        Article 40

            (1) Arbitrators may be appointed from outside the Panel of Arbi-
        trators, except in the case of appointments by the Chairman pursuant
        to Article 38.
            (2) Arbitrators appointed from outside the Panel of Arbitrators
        shall possess the qualities stated in paragraph (1) of Article 14.

                                   Section 3
                      Powers and Functions of the Tribunal

        Article 41

            (1) The Tribunal shall be the judge of its own competence.
            (2) Any objection by a party to the dispute that that dispute is not
        within the jurisdiction of the Centre, or for other reasons is not within
        the competence of the Tribunal, shall be considered by the Tribunal
        which shall determine whether to deal with it as a preliminary question
        or to join it to the merits of the dispute.

        Article 42

            (1) The Tribunal shall decide a dispute in accordance with such
        rules of law as may be agreed by the parties. In the absence of such
        agreement, the Tribunal shall apply the law of the Contracting State
        party to the dispute (including its rules on the conflict of laws) and such
        rules of international law as may be applicable.
            (2) The Tribunal may not bring in a finding of non liquet on the
        ground of silence or obscurity of the law.
            (3) The provisions of paragraphs (1) and (2) shall not prejudice the
        power of the Tribunal to decide a dispute ex aequo et bono if the parties
        so agree.
                                                                                23
Case 1:19-cv-01618-TSC                 Document 1-5            Filed 06/03/19         Page 24 of 128
              Article 43

                   Except as the parties otherwise agree, the Tribunal may, if it deems
              it necessary at any stage of the proceedings,
                       (a) call upon the parties to produce documents or other evi-
                           dence, and
 Convention




                       (b) visit the scene connected with the dispute, and conduct
                           such inquiries there as it may deem appropriate.

              Article 44

                  Any arbitration proceeding shall be conducted in accordance with
              the provisions of this Section and, except as the parties otherwise agree,
              in accordance with the Arbitration Rules in effect on the date on which
              the parties consented to arbitration. If any question of procedure arises
              which is not covered by this Section or the Arbitration Rules or any
              rules agreed by the parties, the Tribunal shall decide the question.

              Article 45

                   (1) Failure of a party to appear or to present his case shall not be
              deemed an admission of the other party’s assertions.
                   (2) If a party fails to appear or to present his case at any stage of the
              proceedings the other party may request the Tribunal to deal with the
              questions submitted to it and to render an award. Before rendering an
              award, the Tribunal shall notify, and grant a period of grace to, the party
              failing to appear or to present its case, unless it is satisfied that that party
              does not intend to do so.

              Article 46

                  Except as the parties otherwise agree, the Tribunal shall, if
              requested by a party, determine any incidental or additional claims or
              counterclaims arising directly out of the subject-matter of the dispute
              provided that they are within the scope of the consent of the parties and
              are otherwise within the jurisdiction of the Centre.

              Article 47

                  Except as the parties otherwise agree, the Tribunal may, if it consid-
              ers that the circumstances so require, recommend any provisional
              measures which should be taken to preserve the respective rights of
              either party.




              24
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19         Page 25 of 128
                                       Section 4
                                       The Award

        Article 48

            (1) The Tribunal shall decide questions by a majority of the votes




                                                                                      Convention
        of all its members.
            (2) The award of the Tribunal shall be in writing and shall be
        signed by the members of the Tribunal who voted for it.
            (3) The award shall deal with every question submitted to the Tri-
        bunal, and shall state the reasons upon which it is based.
            (4) Any member of the Tribunal may attach his individual opinion
        to the award, whether he dissents from the majority or not, or a state-
        ment of his dissent.
            (5) The Centre shall not publish the award without the consent of
        the parties.

        Article 49

             (1) The Secretary-General shall promptly dispatch certified copies
        of the award to the parties. The award shall be deemed to have been ren-
        dered on the date on which the certified copies were dispatched.
             (2) The Tribunal upon the request of a party made within 45 days
        after the date on which the award was rendered may after notice to the
        other party decide any question which it had omitted to decide in the
        award, and shall rectify any clerical, arithmetical or similar error in the
        award. Its decision shall become part of the award and shall be notified
        to the parties in the same manner as the award. The periods of time
        provided for under paragraph (2) of Article 51 and paragraph (2) of
        Article 52 shall run from the date on which the decision was rendered.

                                    Section 5
                           Interpretation, Revision and
                             Annulment of the Award

        Article 50

            (1) If any dispute shall arise between the parties as to the meaning
        or scope of an award, either party may request interpretation of the
        award by an application in writing addressed to the Secretary-General.
            (2) The request shall, if possible, be submitted to the Tribunal
        which rendered the award. If this shall not be possible, a new Tribunal
        shall be constituted in accordance with Section 2 of this Chapter. The


                                                                                25
Case 1:19-cv-01618-TSC               Document 1-5          Filed 06/03/19        Page 26 of 128
              Tribunal may, if it considers that the circumstances so require, stay
              enforcement of the award pending its decision.

              Article 51

                  (1) Either party may request revision of the award by an applica-
 Convention




              tion in writing addressed to the Secretary-General on the ground of dis-
              covery of some fact of such a nature as decisively to affect the award,
              provided that when the award was rendered that fact was unknown to
              the Tribunal and to the applicant and that the applicant’s ignorance of
              that fact was not due to negligence.
                  (2) The application shall be made within 90 days after the discov-
              ery of such fact and in any event within three years after the date on
              which the award was rendered.
                  (3) The request shall, if possible, be submitted to the Tribunal
              which rendered the award. If this shall not be possible, a new Tribunal
              shall be constituted in accordance with Section 2 of this Chapter.
                  (4) The Tribunal may, if it considers that the circumstances so
              require, stay enforcement of the award pending its decision. If the appli-
              cant requests a stay of enforcement of the award in his application,
              enforcement shall be stayed provisionally until the Tribunal rules on
              such request.

              Article 52

                  (1) Either party may request annulment of the award by an appli-
              cation in writing addressed to the Secretary-General on one or more of
              the following grounds:
                       (a) that the Tribunal was not properly constituted;
                       (b) that the Tribunal has manifestly exceeded its powers;
                       (c) that there was corruption on the part of a member of
                           the Tribunal;
                       (d) that there has been a serious departure from a fundamen-
                           tal rule of procedure; or
                       (e) that the award has failed to state the reasons on which it
                           is based.
                  (2) The application shall be made within 120 days after the date on
              which the award was rendered except that when annulment is requested
              on the ground of corruption such application shall be made within 120
              days after discovery of the corruption and in any event within three
              years after the date on which the award was rendered.
                  (3) On receipt of the request the Chairman shall forthwith appoint
              from the Panel of Arbitrators an ad hoc Committee of three persons.
              None of the members of the Committee shall have been a member of

              26
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19        Page 27 of 128
        the Tribunal which rendered the award, shall be of the same nationality
        as any such member, shall be a national of the State party to the dispute
        or of the State whose national is a party to the dispute, shall have been
        designated to the Panel of Arbitrators by either of those States, or shall
        have acted as a conciliator in the same dispute. The Committee shall
        have the authority to annul the award or any part thereof on any of the




                                                                                     Convention
        grounds set forth in paragraph (1).
            (4) The provisions of Articles 41-45, 48, 49, 53 and 54, and of
        Chapters VI and VII shall apply mutatis mutandis to proceedings before
        the Committee.
            (5) The Committee may, if it considers that the circumstances so
        require, stay enforcement of the award pending its decision. If the appli-
        cant requests a stay of enforcement of the award in his application,
        enforcement shall be stayed provisionally until the Committee rules on
        such request.
            (6) If the award is annulled the dispute shall, at the request of
        either party, be submitted to a new Tribunal constituted in accordance
        with Section 2 of this Chapter.

                                     Section 6
                           Recognition and Enforcement
                                   of the Award

        Article 53

             (1) The award shall be binding on the parties and shall not be sub-
        ject to any appeal or to any other remedy except those provided for in
        this Convention. Each party shall abide by and comply with the terms
        of the award except to the extent that enforcement shall have been
        stayed pursuant to the relevant provisions of this Convention.
             (2) For the purposes of this Section, “award” shall include any deci-
        sion interpreting, revising or annulling such award pursuant to Articles
        50, 51 or 52.

        Article 54

            (1) Each Contracting State shall recognize an award rendered pur-
        suant to this Convention as binding and enforce the pecuniary obliga-
        tions imposed by that award within its territories as if it were a final
        judgment of a court in that State. A Contracting State with a federal
        constitution may enforce such an award in or through its federal courts
        and may provide that such courts shall treat the award as if it were a
        final judgment of the courts of a constituent state.



                                                                               27
Case 1:19-cv-01618-TSC               Document 1-5         Filed 06/03/19        Page 28 of 128
                   (2) A party seeking recognition or enforcement in the territories of
              a Contracting State shall furnish to a competent court or other author-
              ity which such State shall have designated for this purpose a copy of the
              award certified by the Secretary-General. Each Contracting State shall
              notify the Secretary-General of the designation of the competent court
              or other authority for this purpose and of any subsequent change in
 Convention




              such designation.
                   (3) Execution of the award shall be governed by the laws concern-
              ing the execution of judgments in force in the State in whose territories
              such execution is sought.

              Article 55

                  Nothing in Article 54 shall be construed as derogating from the law
              in force in any Contracting State relating to immunity of that State or
              of any foreign State from execution.


                                       Chapter V
                           Replacement and Disqualification
                            of Conciliators and Arbitrators
              Article 56

                   (1) After a Commission or a Tribunal has been constituted and
              proceedings have begun, its composition shall remain unchanged; pro-
              vided, however, that if a conciliator or an arbitrator should die, become
              incapacitated, or resign, the resulting vacancy shall be filled in accor-
              dance with the provisions of Section 2 of Chapter III or Section 2 of
              Chapter IV.
                   (2) A member of a Commission or Tribunal shall continue to serve
              in that capacity notwithstanding that he shall have ceased to be a
              member of the Panel.
                   (3) If a conciliator or arbitrator appointed by a party shall have
              resigned without the consent of the Commission or Tribunal of which
              he was a member, the Chairman shall appoint a person from the appro-
              priate Panel to fill the resulting vacancy.

              Article 57

                  A party may propose to a Commission or Tribunal the disqualifica-
              tion of any of its members on account of any fact indicating a manifest
              lack of the qualities required by paragraph (1) of Article 14. A party to
              arbitration proceedings may, in addition, propose the disqualification


              28
Case 1:19-cv-01618-TSC          Document 1-5          Filed 06/03/19         Page 29 of 128
        of an arbitrator on the ground that he was ineligible for appointment to
        the Tribunal under Section 2 of Chapter IV.

        Article 58

             The decision on any proposal to disqualify a conciliator or arbitra-




                                                                                       Convention
        tor shall be taken by the other members of the Commission or Tribunal
        as the case may be, provided that where those members are equally
        divided, or in the case of a proposal to disqualify a sole conciliator or
        arbitrator, or a majority of the conciliators or arbitrators, the Chairman
        shall take that decision. If it is decided that the proposal is well-founded
        the conciliator or arbitrator to whom the decision relates shall be
        replaced in accordance with the provisions of Section 2 of Chapter III
        or Section 2 of Chapter IV.


                                   Chapter VI
                               Cost of Proceedings
        Article 59

            The charges payable by the parties for the use of the facilities of the
        Centre shall be determined by the Secretary-General in accordance with
        the regulations adopted by the Administrative Council.

        Article 60

             (1) Each Commission and each Tribunal shall determine the fees
        and expenses of its members within limits established from time to
        time by the Administrative Council and after consultation with the Sec-
        retary-General.
             (2) Nothing in paragraph (1) of this Article shall preclude the par-
        ties from agreeing in advance with the Commission or Tribunal con-
        cerned upon the fees and expenses of its members.

        Article 61

             (1) In the case of conciliation proceedings the fees and expenses of
        members of the Commission as well as the charges for the use of the facil-
        ities of the Centre, shall be borne equally by the parties. Each party shall
        bear any other expenses it incurs in connection with the proceedings.
             (2) In the case of arbitration proceedings the Tribunal shall, except
        as the parties otherwise agree, assess the expenses incurred by the par-
        ties in connection with the proceedings, and shall decide how and by
        whom those expenses, the fees and expenses of the members of the Tri-


                                                                                 29
Case 1:19-cv-01618-TSC               Document 1-5          Filed 06/03/19        Page 30 of 128
              bunal and the charges for the use of the facilities of the Centre shall be
              paid. Such decision shall form part of the award.


                                        Chapter VII
                                    Place of Proceedings
 Convention




              Article 62

                  Conciliation and arbitration proceedings shall be held at the seat of
              the Centre except as hereinafter provided.

              Article 63

                  Conciliation and arbitration proceedings may be held, if the parties
              so agree,
                      (a) at the seat of the Permanent Court of Arbitration or of any
                          other appropriate institution, whether private or public,
                          with which the Centre may make arrangements for that
                          purpose; or
                      (b) at any other place approved by the Commission or Tri-
                          bunal after consultation with the Secretary-General.


                                      Chapter VIII
                           Disputes Between Contracting States
              Article 64

                  Any dispute arising between Contracting States concerning the
              interpretation or application of this Convention which is not settled by
              negotiation shall be referred to the International Court of Justice by the
              application of any party to such dispute, unless the States concerned
              agree to another method of settlement.


                                           Chapter IX
                                          Amendment
              Article 65

                  Any Contracting State may propose amendment of this Conven-
              tion. The text of a proposed amendment shall be communicated to the
              Secretary-General not less than 90 days prior to the meeting of the
              Administrative Council at which such amendment is to be considered

              30
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19        Page 31 of 128
        and shall forthwith be transmitted by him to all the members of the
        Administrative Council.

        Article 66

             (1) If the Administrative Council shall so decide by a majority of




                                                                                     Convention
        two-thirds of its members, the proposed amendment shall be circulated
        to all Contracting States for ratification, acceptance or approval. Each
        amendment shall enter into force 30 days after dispatch by the deposi-
        tary of this Convention of a notification to Contracting States that all
        Contracting States have ratified, accepted or approved the amendment.
             (2) No amendment shall affect the rights and obligations under
        this Convention of any Contracting State or of any of its constituent
        subdivisions or agencies, or of any national of such State arising out of
        consent to the jurisdiction of the Centre given before the date of entry
        into force of the amendment.


                                    Chapter X
                                 Final Provisions
        Article 67

             This Convention shall be open for signature on behalf of States
        members of the Bank. It shall also be open for signature on behalf of
        any other State which is a party to the Statute of the International Court
        of Justice and which the Administrative Council, by a vote of two-thirds
        of its members, shall have invited to sign the Convention.

        Article 68

             (1) This Convention shall be subject to ratification, acceptance or
        approval by the signatory States in accordance with their respective
        constitutional procedures.
             (2) This Convention shall enter into force 30 days after the date of
        deposit of the twentieth instrument of ratification, acceptance or
        approval. It shall enter into force for each State which subsequently
        deposits its instrument of ratification, acceptance or approval 30 days
        after the date of such deposit.

        Article 69

             Each Contracting State shall take such legislative or other measures
        as may be necessary for making the provisions of this Convention effec-
        tive in its territories.


                                                                               31
Case 1:19-cv-01618-TSC               Document 1-5          Filed 06/03/19        Page 32 of 128
              Article 70

                  This Convention shall apply to all territories for whose interna-
              tional relations a Contracting State is responsible, except those which
              are excluded by such State by written notice to the depositary of this
              Convention either at the time of ratification, acceptance or approval or
 Convention




              subsequently.

              Article 71

                  Any Contracting State may denounce this Convention by written
              notice to the depositary of this Convention. The denunciation shall take
              effect six months after receipt of such notice.

              Article 72

                  Notice by a Contracting State pursuant to Articles 70 or 71 shall not
              affect the rights or obligations under this Convention of that State or of
              any of its constituent subdivisions or agencies or of any national of that
              State arising out of consent to the jurisdiction of the Centre given by
              one of them before such notice was received by the depositary.

              Article 73

                  Instruments of ratification, acceptance or approval of this Conven-
              tion and of amendments thereto shall be deposited with the Bank
              which shall act as the depositary of this Convention. The depositary
              shall transmit certified copies of this Convention to States members of
              the Bank and to any other State invited to sign the Convention.

              Article 74

                  The depositary shall register this Convention with the Secretariat of
              the United Nations in accordance with Article 102 of the Charter of the
              United Nations and the Regulations thereunder adopted by the General
              Assembly.

              Article 75

                   The depositary shall notify all signatory States of the following:
                      (a) signatures in accordance with Article 67;
                      (b) deposits of instruments of ratification, acceptance and
                          approval in accordance with Article 73;
                      (c) the date on which this Convention enters into force in
                          accordance with Article 68;
                      (d) exclusions from territorial application pursuant to Article
                          70;

              32
Case 1:19-cv-01618-TSC        Document 1-5         Filed 06/03/19       Page 33 of 128
                (e) the date on which any amendment of this Convention
                    enters into force in accordance with Article 66; and
                (f) denunciations in accordance with Article 71.

            DONE at Washington, in the English, French and Spanish lan-




                                                                                  Convention
        guages, all three texts being equally authentic, in a single copy which
        shall remain deposited in the archives of the International Bank for
        Reconstruction and Development, which has indicated by its signature
        below its agreement to fulfil the functions with which it is charged
        under this Convention.




                                                                            33
Case 1:19-cv-01618-TSC   Document 1-5   Filed 06/03/19   Page 34 of 128
Case 1:19-cv-01618-TSC    Document 1-5       Filed 06/03/19     Page 35 of 128




                                                                         Report of the Executive Directors
                  REPORT OF THE




                                                                                on the Convention
           EXECUTIVE DIRECTORS ON THE
          CONVENTION ON THE SETTLEMENT
             OF INVESTMENT DISPUTES
               BETWEEN STATES AND
            NATIONALS OF OTHER STATES




            International Bank for Reconstruction and Development
                                March 18, 1965

                                                                    35
Case 1:19-cv-01618-TSC   Document 1-5   Filed 06/03/19   Page 36 of 128
Case 1:19-cv-01618-TSC              Document 1-5                    Filed 06/03/19                   Page 37 of 128

                   REPORT OF THE EXECUTIVE DIRECTORS
                          ON THE CONVENTION

                                     Table of Contents
        Section   Paragraph                                                                               Page




                                                                                                                 Report of the Executive Directors
        I–III     1-14        ........................................                                     38




                                                                                                                        on the Convention
        IV                    The International Centre for Settlement
                              of Investment Disputes
                  15-18       General . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    41
                  19          Functions of the Administrative Council . . . . .                            42
                  20          Functions of the Secretary-General . . . . . . . . . .                       42
                  21          The Panels . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       43

        V                     Jurisdiction of the Centre
                  22           ........................................                                    43
                  23-25       Consent . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      43
                  26-27       Nature of the Dispute . . . . . . . . . . . . . . . . . . . . .              44
                  28-30       Parties to the Dispute . . . . . . . . . . . . . . . . . . . . .             44
                  31          Notifications by Contracting States . . . . . . . . . .                      44
                  32          Arbitration as Exclusive Remedy . . . . . . . . . . . .                      45
                  33          Claims by the Investor’s State . . . . . . . . . . . . . . .                 45

        VI                    Proceedings under the Convention
                  34          Institution of Proceedings . . . . . . . . . . . . . . . . .                 45
                  35-36       Constitution of Conciliation Commissions
                              and Arbitral Tribunals . . . . . . . . . . . . . . . . . . . .               46
                  37-40       Conciliation Proceedings; Powers
                              and Functions of Arbitral Tribunals . . . . . . . . .                        46
                  41-43       Recognition and Enforcement of
                              Arbitral Awards . . . . . . . . . . . . . . . . . . . . . . . . . .          47

        VII       44          Place of Proceedings . . . . . . . . . . . . . . . . . . . . . . .           48

        VIII      45          Disputes Between Contracting States . . . . . . .                            48

        IX        46          Entry into Force . . . . . . . . . . . . . . . . . . . . . . . . . . .       48




                                                                                                           37
Case 1:19-cv-01618-TSC                                     Document 1-5         Filed 06/03/19        Page 38 of 128

                                       Report of the Executive Directors
                                     on the Convention on the Settlement
                                    of Investment Disputes between States
                                         and Nationals of Other States
Report of the Executive Directors




                                                                       I
                                        1. Resolution No. 214, adopted by the Board of Governors of the
       on the Convention




                                    International Bank for Reconstruction and Development on September
                                    10, 1964, provides as follows:
                                            “RESOLVED:
                                            (a) The report of the Executive Directors on “Settlement of
                                                Investment Disputes,” dated August 6, 1964, is hereby
                                                approved.
                                            (b) The Executive Directors are requested to formulate a con-
                                                vention establishing facilities and procedures which would
                                                be available on a voluntary basis for the settlement of
                                                investment disputes between contracting States and
                                                Nationals of other contracting States through conciliation
                                                and arbitration.
                                            (c) In formulating such a convention, the Executive Directors
                                                shall take into account the views of member governments
                                                and shall keep in mind the desirability of arriving at a text
                                                which could be accepted by the largest possible number of
                                                governments.
                                            (d) The Executive Directors shall submit the text of such a con-
                                                vention to member governments with such recommenda-
                                                tions as they shall deem appropriate.”
                                        2. The Executive Directors of the Bank, acting pursuant to the
                                    foregoing Resolution, have formulated a Convention on the Settlement
                                    of Investment Disputes between States and Nationals of Other States
                                    and, on March 18, 1965, approved the submission of the text of the
                                    Convention, as attached hereto, to member governments of the Bank.
                                    This action by the Executive Directors does not, of course, imply that
                                    the governments represented by the individual Executive Directors are
                                    committed to take action on the Convention.
                                        3. The action by the Executive Directors was preceded by exten-
                                    sive preparatory work, details of which are given in paragraphs 6-8
                                    below. The Executive Directors are satisfied that the Convention in the
                                    form attached hereto represents a broad consensus of the views of those
                                    governments which accept the principle of establishing by inter-gov-

                                    38
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19        Page 39 of 128
        ernmental agreement facilities and procedures for the settlement of
        investment disputes which States and foreign investors wish to submit
        to conciliation or arbitration. They are also satisfied that the Conven-
        tion constitutes a suitable framework for such facilities and procedures.
        Accordingly, the text of the Convention is submitted to member gov-
        ernments for consideration with a view to signature and ratification,
        acceptance or approval.
            4. The Executive Directors invite attention to the provision of




                                                                                     Report of the Executive Directors
        Article 68(2) pursuant to which the Convention will enter into force as
        between the Contracting States 30 days after deposit with the Bank, the




                                                                                            on the Convention
        depositary of the Convention, of the twentieth instrument of ratifica-
        tion, acceptance or approval.
            5. The attached text of the Convention in the English, French and
        Spanish languages has been deposited in the archives of the Bank, as
        depositary, and is open for signature.

                                           II
             6. The question of the desirability and practicability of establish-
        ing institutional facilities, sponsored by the Bank, for the settlement
        through conciliation and arbitration of investment disputes between
        States and foreign investors was first placed before the Board of Gover-
        nors of the Bank at its Seventeenth Annual Meeting, held in Washing-
        ton, D.C. in September 1962. At that Meeting the Board of Governors,
        by Resolution No. 174, adopted on September 18, 1962, requested the
        Executive Directors to study the question.
             7. After a series of informal discussions on the basis of working
        papers prepared by the staff of the Bank, the Executive Directors
        decided that the Bank should convene consultative meetings of legal
        experts designated by member governments to consider the subject in
        greater detail. The consultative meetings were held on a regional basis
        in Addis Ababa (December 16-20, 1963), Santiago de Chile (February
        3-7, 1964), Geneva (February 17-21, 1964) and Bangkok (April 27-May
        1, 1964), with the administrative assistance of the United Nations Eco-
        nomic Commissions and the European Office of the United Nations,
        and took as the basis for discussion a Preliminary Draft of a Convention
        on Settlement of Investment Disputes between States and Nationals of
        Other States prepared by the staff of the Bank in the light of the discus-
        sions of the Executive Directors and the views of governments. The
        meetings were attended by legal experts from 86 countries.
             8. In the light of the preparatory work and of the views expressed
        at the consultative meetings, the Executive Directors reported to the
        Board of Governors at its Nineteenth Annual Meeting in Tokyo, in Sep-
        tember 1964, that it would be desirable to establish the institutional
        facilities envisaged, and to do so within the framework of an inter-gov-

                                                                               39
Case 1:19-cv-01618-TSC                                     Document 1-5          Filed 06/03/19        Page 40 of 128
                                    ernmental agreement. The Board of Governors adopted the Resolution
                                    set forth in paragraph 1 of this Report, whereupon the Executive Direc-
                                    tors undertook the formulation of the present Convention. With a view
                                    to arriving at a text which could be accepted by the largest possible
                                    number of governments, the Bank invited its members to designate rep-
                                    resentatives to a Legal Committee which would assist the Executive
                                    Directors in their task. This Committee met in Washington from
                                    November 23 through December 11, 1964, and the Executive Directors
Report of the Executive Directors




                                    gratefully acknowledge the valuable advice they received from the rep-
                                    resentatives of the 61 member countries who served on the Committee.
       on the Convention




                                                                       III
                                         9. In submitting the attached Convention to governments, the
                                    Executive Directors are prompted by the desire to strengthen the part-
                                    nership between countries in the cause of economic development. The
                                    creation of an institution designed to facilitate the settlement of dis-
                                    putes between States and foreign investors can be a major step toward
                                    promoting an atmosphere of mutual confidence and thus stimulating a
                                    larger flow of private international capital into those countries which
                                    wish to attract it.
                                         10. The Executive Directors recognize that investment disputes are
                                    as a rule settled through administrative, judicial or arbitral procedures
                                    available under the laws of the country in which the investment con-
                                    cerned is made. However, experience shows that disputes may arise
                                    which the parties wish to settle by other methods; and investment
                                    agreements entered into in recent years show that both States and
                                    investors frequently consider that it is in their mutual interest to agree
                                    to resort to international methods of settlement.
                                         11. The present Convention would offer international methods of
                                    settlement designed to take account of the special characteristics of the
                                    disputes covered, as well as of the parties to whom it would apply. It
                                    would provide facilities for conciliation and arbitration by specially
                                    qualified persons of independent judgment carried out according to
                                    rules known and accepted in advance by the parties concerned. In par-
                                    ticular, it would ensure that once a government or investor had given
                                    consent to conciliation or arbitration under the auspices of the Centre,
                                    such consent could not be unilaterally withdrawn.
                                         12. The Executive Directors believe that private capital will con-
                                    tinue to flow to countries offering a favorable climate for attractive and
                                    sound investments, even if such countries did not become parties to the
                                    Convention or, having joined, did not make use of the facilities of the
                                    Centre. On the other hand, adherence to the Convention by a country
                                    would provide additional inducement and stimulate a larger flow of
                                    private international investment into its territories, which is the pri-
                                    mary purpose of the Convention.

                                    40
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19        Page 41 of 128
            13. While the broad objective of the Convention is to encourage a
        larger flow of private international investment, the provisions of the
        Convention maintain a careful balance between the interests of
        investors and those of host States. Moreover, the Convention permits
        the institution of proceedings by host States as well as by investors and
        the Executive Directors have constantly had in mind that the provisions
        of the Convention should be equally adapted to the requirements of
        both cases.




                                                                                     Report of the Executive Directors
            14. The provisions of the attached Convention are for the most
        part self-explanatory. Brief comment on a few principal features may,




                                                                                            on the Convention
        however, be useful to member governments in their consideration of
        the Convention.

                                       IV
                    The International Centre for Settlement
                            of Investment Disputes

        General

             15. The Convention establishes the International Centre for Settle-
        ment of Investment Disputes as an autonomous international institu-
        tion (Articles 18-24). The purpose of the Centre is “to provide facilities
        for conciliation and arbitration of investment disputes * * *” (Article
        1(2)). The Centre will not itself engage in conciliation or arbitration
        activities. This will be the task of Conciliation Commissions and Arbi-
        tral Tribunals constituted in accordance with the provisions of the
        Convention.
             16. As sponsor of the establishment of the institution the Bank will
        provide the Centre with premises for its seat (Article 2) and, pursuant
        to arrangements between the two institutions, with other administra-
        tive facilities and services (Article 6(d)).
             17. With respect to the financing of the Centre (Article 17), the
        Executive Directors have decided that the Bank should be prepared to
        provide the Centre with office accommodation free of charge as long as
        the Centre has its seat at the Bank’s headquarters and to underwrite,
        within reasonable limits, the basic overhead expenditure of the Centre
        for a period of years to be determined after the Centre is established.
             18. Simplicity and economy consistent with the efficient discharge
        of the functions of the Centre characterize its structure. The organs of
        the Centre are the Administrative Council (Articles 4-8) and the Secre-
        tariat (Article 9-11). The Administrative Council will be composed of
        one representative of each Contracting State, serving without remuner-
        ation from the Centre. Each member of the Council casts one vote and
        matters before the Council are decided by a majority of the votes cast
        unless a different majority is required by the Convention. The President
                                                                               41
Case 1:19-cv-01618-TSC                                     Document 1-5          Filed 06/03/19        Page 42 of 128
                                    of the Bank will serve ex officio as the Council’s Chairman but will have
                                    no vote. The Secretariat will consist of a Secretary-General, one or more
                                    Deputy Secretaries-General and staff. In the interest of flexibility the
                                    Convention provides for the possibility of there being more than one
                                    Deputy Secretary-General, but the Executive Directors do not now
                                    foresee a need for more than one or two full time high officials of the
                                    Centre. Article 10, which requires that the Secretary-General and any
                                    Deputy Secretary-General be elected by the Administrative Council by
Report of the Executive Directors




                                    a majority of two-thirds of its members, on the nomination of the
                                    Chairman, limits their terms of office to a period not exceeding six years
                                    and permits their re-election. The Executive Directors believe that the
       on the Convention




                                    initial election, which will take place shortly after the Convention will
                                    have come into force, should be for a short term so as not to deprive the
                                    States which ratify the Convention after its entry into force of the pos-
                                    sibility of participating in the selection of the high officials of the
                                    Centre. Article 10 also limits the extent to which these officials may
                                    engage in activities other than their official functions.

                                    Functions of the Administrative Council

                                         19. The principal functions of the Administrative Council are the
                                    election of the Secretary-General and any Deputy Secretary-General,
                                    the adoption of the budget of the Centre and the adoption of adminis-
                                    trative and financial regulations, rules governing the institution of pro-
                                    ceedings and rules of procedure for conciliation and arbitration
                                    proceedings. Action on all these matters requires a majority of two-
                                    thirds of the members of the Council.

                                    Functions of the Secretary-General
                                         20. The Convention requires the Secretary-General to perform a
                                    variety of administrative functions as legal representative, registrar and
                                    principal officer of the Centre (Articles 7(1), 11, 16(3), 25(4), 28, 36,
                                    49(1), 50(1), 51(1), 52(1), 54(2), 59, 60(1), 63(b) and 65). In addition,
                                    the Secretary-General is given the power to refuse registration of a
                                    request for conciliation proceedings or arbitration proceedings, and
                                    thereby to prevent the institution of such proceedings, if on the basis of
                                    the information furnished by the applicant he finds that the dispute is
                                    manifestly outside the jurisdiction of the Centre (Article 28(3) and
                                    36(3)). The Secretary-General is given this limited power to “screen”
                                    requests for conciliation or arbitration proceedings with a view to
                                    avoiding the embarrassment to a party (particularly a State) which
                                    might result from the institution of proceedings against it in a dispute
                                    which it had not consented to submit to the Centre, as well as the pos-
                                    sibility that the machinery of the Centre would be set in motion in cases
                                    which for other reasons were obviously outside the jurisdiction of the


                                    42
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19        Page 43 of 128
        Centre e.g., because either the applicant or the other party was not eli-
        gible to be a party in proceedings under the Convention.

        The Panels

            21. Article 3 requires the Centre to maintain a Panel of Conciliators
        and a Panel of Arbitrators, while Articles 12-16 outline the manner and
        terms of designation of Panel members. In particular, Article 14(1)




                                                                                     Report of the Executive Directors
        seeks to ensure that Panel members will possess a high degree of com-
        petence and be capable of exercising independent judgment. In keeping
        with the essentially flexible character of the proceedings, the Conven-




                                                                                            on the Convention
        tion permits the parties to appoint conciliators and arbitrators from
        outside the Panels but requires (Articles 31(2) and 40(2)) that such
        appointees possess the qualities stated in Article 14(1). The Chairman,
        when called upon to appoint a conciliator or arbitrator pursuant to
        Article 30 or 38, is restricted in his choice to Panel members.

                                          V
                             Jurisdiction of the Centre
             22. The term “jurisdiction of the Centre” is used in the Convention
        as a convenient expression to mean the limits within which the provi-
        sions of the Convention will apply and the facilities of the Centre will
        be available for conciliation and arbitration proceedings. The jurisdic-
        tion of the Centre is dealt with in Chapter II of the Convention (Arti-
        cles 25-27).

        Consent

             23. Consent of the parties is the cornerstone of the jurisdiction of
        the Centre. Consent to jurisdiction must be in writing and once given
        cannot be withdrawn unilaterally (Article 25(1)).
             24. Consent of the parties must exist when the Centre is seized
        (Articles 28(3) and 36(3)) but the Convention does not otherwise spec-
        ify the time at which consent should be given. Consent may be given,
        for example, in a clause included in an investment agreement, provid-
        ing for the submission to the Centre of future disputes arising out of
        that agreement, or in a compromis regarding a dispute which has already
        arisen. Nor does the Convention require that the consent of both par-
        ties be expressed in a single instrument. Thus, a host State might in its
        investment promotion legislation offer to submit disputes arising out of
        certain classes of investments to the jurisdiction of the Centre, and the
        investor might give his consent by accepting the offer in writing.
             25. While consent of the parties is an essential prerequisite for the
        jurisdiction of the Centre, consent alone will not suffice to bring a dis-
        pute within its jurisdiction. In keeping with the purpose of the Con-

                                                                               43
Case 1:19-cv-01618-TSC                                       Document 1-5        Filed 06/03/19        Page 44 of 128
                                    vention, the jurisdiction of the Centre is further limited by reference to
                                    the nature of the dispute and the parties thereto.

                                    Nature of the Dispute

                                         26. Article 25(1) requires that the dispute must be a “legal dispute
                                    arising directly out of an investment.” The expression “legal dispute” has
                                    been used to make clear that while conflicts of rights are within the
Report of the Executive Directors




                                    jurisdiction of the Centre, mere conflicts of interests are not. The dis-
                                    pute must concern the existence or scope of a legal right or obligation,
                                    or the nature or extent of the reparation to be made for breach of a legal
       on the Convention




                                    obligation.
                                         27. No attempt was made to define the term “investment” given the
                                    essential requirement of consent by the parties, and the mechanism
                                    through which Contracting States can make known in advance, if they
                                    so desire, the classes of disputes which they would or would not con-
                                    sider submitting to the Centre (Article 25(4)).

                                    Parties to the Dispute

                                        28. For a dispute to be within the jurisdiction of the Centre one of
                                    the parties must be a Contracting State (or a constituent subdivision or
                                    agency of a Contracting State) and the other party must be a “national
                                    of another Contracting State.” The latter term as defined in paragraph
                                    (2) of Article 25 covers both natural persons and juridical persons.
                                        29. It should be noted that under clause (a) of Article 25(2) a nat-
                                    ural person who was a national of the State party to the dispute would
                                    not be eligible to be a party in proceedings under the auspices of the
                                    Centre, even if at the same time he had the nationality of another State.
                                    This ineligibility is absolute and cannot be cured even if the State party
                                    to the dispute had given its consent.
                                        30. Clause (b) of Article 25(2), which deals with juridical persons,
                                    is more flexible. A juridical person which had the nationality of the
                                    State party to the dispute would be eligible to be a party to proceedings
                                    under the auspices of the Centre if that State had agreed to treat it as a
                                    national of another Contracting State because of foreign control.

                                    Notifications by Contracting States

                                        31. While no conciliation or arbitration proceedings could be
                                    brought against a Contracting State without its consent and while no
                                    Contracting State is under any obligation to give its consent to such
                                    proceedings, it was nevertheless felt that adherence to the Convention
                                    might be interpreted as holding out an expectation that Contracting
                                    States would give favorable consideration to requests by investors for
                                    the submission of a dispute to the Centre. It was pointed out in that
                                    connection that there might be classes of investment disputes which
                                    44
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19         Page 45 of 128
        governments would consider unsuitable for submission to the Centre
        or which, under their own law, they were not permitted to submit to the
        Centre. In order to avoid any risk of misunderstanding on this score,
        Article 25(4) expressly permits Contracting States to make known to
        the Centre in advance, if they so desire, the classes of disputes which
        they would or would not consider submitting to the Centre. The provi-
        sion makes clear that a statement by a Contracting State that it would
        consider submitting a certain class of dispute to the Centre would serve




                                                                                      Report of the Executive Directors
        for purposes of information only and would not constitute the consent
        required to give the Centre jurisdiction. Of course, a statement exclud-
        ing certain classes of disputes from consideration would not constitute




                                                                                             on the Convention
        a reservation to the Convention.

        Arbitration as Exclusive Remedy

             32. It may be presumed that when a State and an investor agree to
        have recourse to arbitration, and do not reserve the right to have
        recourse to other remedies or require the prior exhaustion of other
        remedies, the intention of the parties is to have recourse to arbitration
        to the exclusion of any other remedy. This rule of interpretation is
        embodied in the first sentence of Article 26. In order to make clear that
        it was not intended thereby to modify the rules of international law
        regarding the exhaustion of local remedies, the second sentence explic-
        itly recognizes the right of a State to require the prior exhaustion of
        local remedies.

        Claims by the Investor’s State

            33. When a host State consents to the submission of a dispute with
        an investor to the Centre, thereby giving the investor direct access to an
        international jurisdiction, the investor should not be in a position to ask
        his State to espouse his case and that State should not be permitted to
        do so. Accordingly, Article 27 expressly prohibits a Contracting State
        from giving diplomatic protection, or bringing an international claim,
        in respect of a dispute which one of its nationals and another Con-
        tracting State have consented to submit, or have submitted, to arbitra-
        tion under the Convention, unless the State party to the dispute fails to
        honor the award rendered in that dispute.

                                       VI
                        Proceedings under the Convention

        Institution of Proceedings

            34. Proceedings are instituted by means of a request addressed to
        the Secretary-General (Articles 28 and 36). After registration of the
        request the Conciliation Commission or Arbitral Tribunal, as the case
                                                                                45
Case 1:19-cv-01618-TSC                                     Document 1-5          Filed 06/03/19         Page 46 of 128
                                    may be, will be constituted. Reference is made to paragraph 20 above on
                                    the power of the Secretary-General to refuse registration.

                                    Constitution of Conciliation Commissions
                                    and Arbitral Tribunals

                                         35. Although the Convention leaves the parties a large measure of
                                    freedom as regards the constitution of Commissions and Tribunals, it
Report of the Executive Directors




                                    assures that a lack of agreement between the parties on these matters or
                                    the unwillingness of a party to cooperate will not frustrate proceedings
                                    (Articles 29-30 and 37-38, respectively).
       on the Convention




                                         36. Mention has already been made of the fact that the parties are
                                    free to appoint conciliators and arbitrators from outside the Panels (see
                                    paragraph 21 above). While the Convention does not restrict the
                                    appointment of conciliators with reference to nationality, Article 39 lays
                                    down the rule that the majority of the members of an Arbitral Tribunal
                                    should not be nationals of the State party to the dispute or of the State
                                    whose national is a party to the dispute. This rule is likely to have the
                                    effect of excluding persons having these nationalities from serving on a
                                    Tribunal composed of not more than three members. However, the rule
                                    will not apply where each and every arbitrator on the Tribunal has been
                                    appointed by agreement of the parties.

                                    Conciliation Proceedings; Powers and
                                    Functions of Arbitral Tribunals

                                         37. In general, the provisions of Articles 32-35 dealing with concil-
                                    iation proceedings and of Articles 41-49, dealing with the powers and
                                    functions of Arbitral Tribunals and awards rendered by such Tribunals,
                                    are self-explanatory. The differences between the two sets of provisions
                                    reflect the basic distinction between the process of conciliation which
                                    seeks to bring the parties to agreement and that of arbitration which
                                    aims at a binding determination of the dispute by the Tribunal.
                                         38. Article 41 reiterates the well-established principle that interna-
                                    tional tribunals are to be the judges of their own competence and Arti-
                                    cle 32 applies the same principle to Conciliation Commissions. It is to
                                    be noted in this connection that the power of the Secretary-General to
                                    refuse registration of a request for conciliation or arbitration (see para-
                                    graph 20 above) is so narrowly defined as not to encroach on the pre-
                                    rogative of Commissions and Tribunals to determine their own
                                    competence and, on the other hand, that registration of a request by the
                                    Secretary-General does not, of course, preclude a Commission or Tri-
                                    bunal from finding that the dispute is outside the jurisdiction of the
                                    Centre.
                                         39. In keeping with the consensual character of proceedings under
                                    the Convention, the parties to conciliation or arbitration proceedings

                                    46
Case 1:19-cv-01618-TSC             Document 1-5              Filed 06/03/19             Page 47 of 128
        may agree on the rules of procedure which will apply in those proceed-
        ings. However, if or to the extent that they have not so agreed the Con-
        ciliation Rules and Arbitration Rules adopted by the Administrative
        Council will apply (Articles 33 and 44).
             40. Under the Convention an Arbitral Tribunal is required to apply
        the law agreed by the parties. Failing such agreement, the Tribunal must
        apply the law of the State party to the dispute (unless that law calls for
        the application of some other law), as well as such rules of international




                                                                                                   Report of the Executive Directors
        law as may be applicable. The term “international law” as used in this
        context should be understood in the sense given to it by Article 38(1) of




                                                                                                          on the Convention
        the Statute of the International Court of Justice, allowance being made
        for the fact that Article 38 was designed to apply to inter-State disputes.1

        Recognition and Enforcement of Arbitral Awards

             41. Article 53 declares that the parties are bound by the award and
        that it shall not be subject to appeal or to any other remedy except those
        provided for in the Convention. The remedies provided for are revision
        (Article 51) and annulment (Article 52). In addition, a party may ask a
        Tribunal which omitted to decide any question submitted to it, to sup-
        plement its award (Article 49(2)) and may request interpretation of the
        award (Article 50).
             42. Subject to any stay of enforcement in connection with any of
        the above proceedings in accordance with the provisions of the Con-
        vention, the parties are obliged to abide by and comply with the award
        and Article 54 requires every Contracting State to recognize the award
        as binding and to enforce the pecuniary obligations imposed by the
        award as if it were a final decision of a domestic court. Because of the
        different legal techniques followed in common law and civil law juris-
        dictions and the different judicial systems found in unitary and federal
        or other non-unitary States, Article 54 does not prescribe any particu-
        lar method to be followed in its domestic implementation, but requires
        each Contracting State to meet the requirements of the Article in accor-
        dance with its own legal system.
             43. The doctrine of sovereign immunity may prevent the forced
        execution in a State of judgments obtained against foreign States or

        1 Article 38(1) of the Statute of the International Court of Justice reads as follows:
         “1. The Court, whose function it is to decide in accordance with international law
             such disputes as are submitted to it, shall apply:
             a. international conventions, whether general or particular, establishing rules
                expressly recognized by the contesting states;
             b. international custom, as evidence of a general practice accepted as law;
             c. the general principles of law recognized by civilized nations;
             d. subject to the provisions of Article 59, judicial decisions and the teachings of
                the most highly qualified publicists of the various nations, as subsidiary
                means for the determination of rules of law.”

                                                                                             47
Case 1:19-cv-01618-TSC                                     Document 1-5          Filed 06/03/19         Page 48 of 128
                                    against the State in which execution is sought. Article 54 requires Con-
                                    tracting States to equate an award rendered pursuant to the Convention
                                    with a final judgment of its own courts. It does not require them to go
                                    beyond that and to undertake forced execution of awards rendered pur-
                                    suant to the Convention in cases in which final judgments could not be
                                    executed. In order to leave no doubt on this point Article 55 provides
                                    that nothing in Article 54 shall be construed as derogating from the law
                                    in force in any Contracting State relating to immunity of that State or
Report of the Executive Directors




                                    of any foreign State from execution.

                                                                     VII
       on the Convention




                                                            Place of Proceedings
                                         44. In dealing with proceedings away from the Centre, Article 63
                                    provides that proceedings may be held, if the parties so agree, at the seat
                                    of the Permanent Court of Arbitration or of any other appropriate
                                    institution with which the Centre may enter into arrangements for that
                                    purpose. These arrangements are likely to vary with the type of institu-
                                    tion and to range from merely making premises available for the pro-
                                    ceedings to the provision of complete secretariat services.

                                                                 VIII
                                                  Disputes Between Contracting States
                                         45. Article 64 confers on the International Court of Justice juris-
                                    diction over disputes between Contracting States regarding the inter-
                                    pretation or application of the Convention which are not settled by
                                    negotiation and which the parties do not agree to settle by other meth-
                                    ods. While the provision is couched in general terms, it must be read in
                                    the context of the Convention as a whole. Specifically, the provision
                                    does not confer jurisdiction on the Court to review the decision of a
                                    Conciliation Commission or Arbitral Tribunal as to its competence
                                    with respect to any dispute before it. Nor does it empower a State to
                                    institute proceedings before the Court in respect of a dispute which one
                                    of its nationals and another Contracting State have consented to submit
                                    or have submitted to arbitration, since such proceedings would contra-
                                    vene the provisions of Article 27, unless the other Contracting State had
                                    failed to abide by and comply with the award rendered in that dispute.

                                                                      IX
                                                               Entry into Force
                                         46. The Convention is open for signature on behalf of States mem-
                                    bers of the Bank. It will also be open for signature on behalf of any other
                                    State which is a party to the Statute of the International Court of Jus-
                                    tice and which the Administrative Council, by a vote of two-thirds of its

                                    48
Case 1:19-cv-01618-TSC        Document 1-5          Filed 06/03/19       Page 49 of 128
        members, shall have invited to sign. No time limit has been prescribed
        for signature. Signature is required both of States joining before the
        Convention enters into force and those joining thereafter (Article 67).
        The Convention is subject to ratification, acceptance or approval by the
        signatory States in accordance with their constitutional procedures
        (Article 68). As already stated, the Convention will enter into force
        upon the deposit of the twentieth instrument of ratification, acceptance
        or approval.




                                                                                   Report of the Executive Directors
                                                                                          on the Convention




                                                                             49
Case 1:19-cv-01618-TSC   Document 1-5   Filed 06/03/19   Page 50 of 128
Case 1:19-cv-01618-TSC    Document 1-5   Filed 06/03/19   Page 51 of 128




                         ADMINISTRATIVE
                         AND FINANCIAL
                          REGULATIONS




                                                                   Financial Regulations
                                                                    Administrative and




                                                             51
Case 1:19-cv-01618-TSC   Document 1-5   Filed 06/03/19   Page 52 of 128
Case 1:19-cv-01618-TSC               Document 1-5                     Filed 06/03/19                   Page 53 of 128

                                 ADMINISTRATIVE AND
                               FINANCIAL REGULATIONS

                                       Table of Contents
        Chapter   Regulation                                                                                Page

        I                      Procedures of the Administrative Council
                  1            Date and Place of the Annual Meeting . . . . . . .                            55
                  2            Notice of Meetings . . . . . . . . . . . . . . . . . . . . . . .              55
                  3            Agenda for Meetings . . . . . . . . . . . . . . . . . . . . . .               56
                  4            Presiding Officer . . . . . . . . . . . . . . . . . . . . . . . . .           56
                  5            Secretary of the Council . . . . . . . . . . . . . . . . . . .                56
                  6            Attendance at Meetings . . . . . . . . . . . . . . . . . . .                  57
                  7            Voting . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    57




                                                                                                                   Financial Regulations
                                                                                                                    Administrative and
        II                     The Secretariat
                  8            Election of the Secretary-General
                               and His Deputies . . . . . . . . . . . . . . . . . . . . . . . . .            58
                  9            Acting Secretary-General . . . . . . . . . . . . . . . . . .                  58
                  10           Appointment of Staff Members . . . . . . . . . . . . .                        59
                  11           Conditions of Employment . . . . . . . . . . . . . . . .                      59
                  12           Authority of the Secretary-General . . . . . . . . . .                        59
                  13           Incompatibility of Functions . . . . . . . . . . . . . . .                    59

        III                    Financial Provisions
                  14           Direct Costs of Individual Proceedings . . . . . . .                          60
                  15           Special Services to Parties . . . . . . . . . . . . . . . . . .               62
                  16           Fee for Lodging Requests . . . . . . . . . . . . . . . . . .                  62
                  17           The Budget . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        63
                  18           Assessment of Contributions . . . . . . . . . . . . . . .                     63
                  19           Audits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    64

        IV                     General Functions of the Secretariat
                  20           List of Contracting States . . . . . . . . . . . . . . . . . .                64
                  21           Establishment of Panels . . . . . . . . . . . . . . . . . . .                 65
                  22           Publication . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       66

        V                      Functions with Respect to
                               Individual Proceedings
                  23           The Registers . . . . . . . . . . . . . . . . . . . . . . . . . . . .         66
                  24           Means of Communication . . . . . . . . . . . . . . . . .                      67
                  25           Secretary . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     67
                  26           Place of Proceedings . . . . . . . . . . . . . . . . . . . . . .              68


                                                                                                             53
Case 1:19-cv-01618-TSC                    Document 1-5                  Filed 06/03/19                 Page 54 of 128
                               27   Other Assistance . . . . . . . . . . . . . . . . . . . . . . . . .      68
                               28   Depositary Functions . . . . . . . . . . . . . . . . . . . . .          68

                        VI          Special Provisions Relating to Proceedings
                               29   Time Limits . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   69
                               30   Supporting Documentation . . . . . . . . . . . . . . . .                69

                        VII         Immunities and Privileges
                               31   Certificate of Official Travel . . . . . . . . . . . . . . . .          70
                               32   Waiver of Immunities . . . . . . . . . . . . . . . . . . . . .          70

                        VIII        Miscellaneous
                               33   Communications with Contracting States . . . .                          71
                               34   Official Languages . . . . . . . . . . . . . . . . . . . . . . . .      71
Financial Regulations
 Administrative and




                        54
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19         Page 55 of 128
             The Administrative and Financial Regulations of ICSID were adopted
        by the Administrative Council of the Centre pursuant to Article 6(1)(a) of
        the ICSID Convention.
             The Regulations of particular interest to parties to proceedings under
        the Convention are: 14-16, 22-31 and 34(1). They are intended to be
        complementary both to the Convention and to the Institution, Concilia-
        tion and Arbitration Rules adopted pursuant to Article 6(1)(b) and (c) of
        the Convention.


                          Administrative
                     and Financial Regulations




                                                                                      Financial Regulations
                                                                                       Administrative and
                                   Chapter I
                               Procedures of the
                             Administrative Council
                                 Regulation 1
                     Date and Place of the Annual Meeting
             (1) The Annual Meeting of the Administrative Council shall take
        place in conjunction with the Annual Meeting of the Board of Gover-
        nors of the International Bank for Reconstruction and Development
        (hereinafter referred to as the “Bank”), unless the Council specifies oth-
        erwise.
             (2) The Secretary-General shall coordinate the arrangements for
        the Annual Meeting of the Administrative Council with the appropriate
        officers of the Bank.

                                   Regulation 2
                                 Notice of Meetings
            (1) The Secretary-General shall, by any rapid means of communi-
        cation, give each member notice of the time and place of each meeting
        of the Administrative Council, which notice shall be dispatched not less
        than 42 days prior to the date set for such meeting, except that in urgent
        cases such notice shall be sufficient if dispatched by telegram or cable
        not less than 10 days prior to the date set for such meeting.
            (2) Any meeting of the Administrative Council at which no
        quorum is present may be adjourned from time to time by a majority
        of the members present and notice of the adjourned meeting need not
        be given.
                                                                                55
Case 1:19-cv-01618-TSC                         Document 1-5         Filed 06/03/19        Page 56 of 128
                                                   Regulation 3
                                                Agenda for Meetings
                             (1) Under the direction of the Chairman, the Secretary-General
                        shall prepare a brief agenda for each meeting of the Administrative
                        Council and shall transmit such agenda to each member with the notice
                        of such meeting.
                             (2) Additional subjects may be placed on the agenda for any meet-
                        ing of the Administrative Council by any member provided that he shall
                        give notice thereof to the Secretary-General not less than seven days
                        prior to the date set for such meeting. In special circumstances the
                        Chairman, or the Secretary-General after consulting the Chairman,
                        may at any time place additional subjects on the agenda for any meet-
                        ing of the Council. The Secretary-General shall as promptly as possible
                        give each member notice of the addition of any subject to the agenda
                        for any meeting.
Financial Regulations
 Administrative and




                             (3) The Administrative Council may at any time authorize any sub-
                        ject to be placed on the agenda for any meeting even though the notice
                        required by this Regulation shall not have been given.

                                                    Regulation 4
                                                  Presiding Officer
                             (1) The Chairman shall be the Presiding Officer at meetings of the
                        Administrative Council.
                             (2) If the Chairman is unable to preside over all or part of a meet-
                        ing of the Council, one of the members of the Administrative Council
                        shall act as temporary Presiding Officer. This member shall be the Rep-
                        resentative, Alternate Representative or temporary Alternate Represen-
                        tative of that Contracting State represented at the meeting that stands
                        highest on a list of Contracting States arranged chronologically
                        according to the date of the deposit of instruments of ratification,
                        acceptance or approval of the Convention, starting with the State fol-
                        lowing the one that had on the last previous occasion provided a tem-
                        porary Presiding Officer. A temporary Presiding Officer may cast the
                        vote of the State he represents, or he may assign another member of his
                        delegation to do so.

                                                   Regulation 5
                                              Secretary of the Council
                             (1) The Secretary-General shall serve as Secretary of the Adminis-
                        trative Council.
                             (2) Except as otherwise specifically directed by the Administrative
                        Council, the Secretary-General, in consultation with the Chairman,

                        56
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19        Page 57 of 128
        shall have charge of all arrangements for the holding of meetings of the
        Council.
            (3) The Secretary-General shall keep a summary record of the pro-
        ceedings of the Administrative Council, copies of which shall be
        provided to all members.
            (4) The Secretary-General shall present to each Annual Meeting of
        the Administrative Council, for its approval pursuant to Article 6(1)(g)
        of the Convention, the annual report on the operation of the Centre.

                                   Regulation 6
                              Attendance at Meetings
             (1) The Secretary-General and the Deputy Secretaries-General
        may attend all meetings of the Administrative Council.
             (2) The Secretary-General, in consultation with the Chairman,




                                                                                     Financial Regulations
                                                                                      Administrative and
        may invite observers to attend any meeting of the Administrative Coun-
        cil.

                                     Regulation 7
                                        Voting
             (1) Except as otherwise specifically provided in the Convention, all
        decisions of the Administrative Council shall be taken by a majority of
        the votes cast. At any meeting the Presiding Officer may ascertain the
        sense of the meeting in lieu of a formal vote but he shall require a
        formal vote upon the request of any member. Whenever a formal vote
        is required the written text of the motion shall be distributed to the
        members.
             (2) No member of the Administrative Council may vote by proxy
        or by any other method than in person, but the representative of a Con-
        tracting State may designate a temporary alternate to vote for him at
        any meeting at which the regular alternate is not present.
             (3) Whenever, in the judgment of the Chairman, any action must
        be taken by the Administrative Council which should not be postponed
        until the next Annual Meeting of the Council and does not warrant the
        calling of a special meeting, the Secretary-General shall transmit to each
        member by any rapid means of communication a motion embodying
        the proposed action with a request for a vote by the members of the
        Council. Votes shall be cast during a period ending 21 days after such
        dispatch, unless a longer period is approved by the Chairman. At the
        expiration of the established period, the Secretary-General shall record
        the results and notify all members of the Council. If the replies received
        do not include those of a majority of the members, the motion shall be
        considered lost.


                                                                               57
Case 1:19-cv-01618-TSC                         Document 1-5         Filed 06/03/19        Page 58 of 128
                             (4) Whenever at a meeting of the Administrative Council at which
                        all Contracting States are not represented, the votes necessary to adopt
                        a proposed decision by a majority of two-thirds of the members of the
                        Council are not obtained, the Council with the concurrence of the
                        Chairman may decide that the votes of those members of the Council
                        represented at the meeting shall be registered and the votes of the
                        absent members shall be solicited in accordance with paragraph (3) of
                        this Regulation. Votes registered at the meeting may be changed by the
                        member before the expiration of the voting period established pursuant
                        to that paragraph.


                                                   Chapter II
                                                 The Secretariat
Financial Regulations




                                                  Regulation 8
 Administrative and




                                        Election of the Secretary-General
                                                and His Deputies
                             In proposing to the Administrative Council one or more candidates
                        for the office of Secretary-General or any Deputy Secretary-General, the
                        Chairman shall at the same time make proposals with respect to:
                                 (a) the length of the term of service;
                                 (b) approval for any of the candidates to hold, if elected, any
                                      other employment or to engage in any other occupation;
                                 (c) the conditions of service, taking into account any propos-
                                      als made pursuant to paragraph (b).

                                                   Regulation 9
                                             Acting Secretary-General
                             (1) If, on the election of a Deputy Secretary-General, there should
                        at any time be more than one Deputy Secretary-General, the Chairman
                        shall immediately after such election propose to the Administrative
                        Council the order in which these Deputies shall act as Secretary-Gen-
                        eral pursuant to Article 10(3) of the Convention. In the absence of such
                        a decision the order shall be that of seniority in the post of Deputy.
                             (2) The Secretary-General shall designate the member of the staff
                        of the Centre who shall act for him during his absence or inability to
                        act, if all Deputy Secretaries-General should also be absent or unable to
                        act or if the office of Deputy should be vacant. If there should be a
                        simultaneous vacancy in the offices of Secretary-General and Deputy
                        Secretary-General, the Chairman shall designate the member of the
                        staff who shall act for the Secretary-General.

                        58
Case 1:19-cv-01618-TSC        Document 1-5          Filed 06/03/19       Page 59 of 128
                                Regulation 10
                         Appointment of Staff Members
           The Secretary-General shall appoint the members of the staff of the
        Centre. Appointments may be made directly or by secondment.

                                  Regulation 11
                            Conditions of Employment
             (1) The conditions of service of the members of the staff of the
        Centre shall be the same as those of the staff of the Bank.
             (2) The Secretary-General shall make arrangements with the
        Bank, within the framework of the general administrative arrange-
        ments approved by the Administrative Council pursuant to Article
        6(1)(d) of the Convention, for the participation of members of the
        Secretariat in the Staff Retirement Plan of the Bank as well as in other




                                                                                   Financial Regulations
                                                                                    Administrative and
        facilities and contractual arrangements established for the benefit of
        the staff of the Bank.

                                 Regulation 12
                       Authority of the Secretary-General
            (1) Deputy Secretaries-General and the members of the staff,
        whether on direct appointment or on secondment, shall act solely
        under the direction of the Secretary-General.
            (2) The Secretary-General shall have authority to dismiss members
        of the Secretariat and to impose disciplinary measures. In the case of
        Deputy Secretaries-General dismissal may only be imposed with the
        concurrence of the Administrative Council.

                                Regulation 13
                          Incompatibility of Functions
           The Secretary-General, the Deputy Secretaries-General and the
        members of the staff may not serve on the Panel of Conciliators or of
        Arbitrators, or as members of any Commission or Tribunal.




                                                                             59
Case 1:19-cv-01618-TSC                         Document 1-5         Filed 06/03/19        Page 60 of 128
                                                  Chapter III
                                              Financial Provisions
                                                 Regulation 14
                                     Direct Costs of Individual Proceedings
                            (1) Unless otherwise agreed pursuant to Article 60(2) of the Con-
                        vention, and in addition to receiving reimbursement for any direct
                        expenses reasonably incurred, each member of a Commission, a Tri-
                        bunal or an ad hoc Committee appointed from the Panel of Arbitrators
                        pursuant to Article 52(3) of the Convention (hereinafter referred to as
                        “Committee”) shall receive:
                                 (a) a fee for each day on which he participates in meetings of
                                     the body of which he is a member;
                                 (b) a fee for the equivalent of each eight-hour day of other
Financial Regulations
 Administrative and




                                     work performed in connection with the proceedings;
                                 (c) in lieu of reimbursement of subsistence expenses when
                                     away from his normal place of residence, a per diem
                                     allowance based on the allowance established from time to
                                     time for the Executive Directors of the Bank;
                                 (d) travel expenses in connection with meetings of the body of
                                     which he is a member based on the norms established from
                                     time to time for the Executive Directors of the Bank.
                            The amounts of the fees referred to in paragraphs (a) and (b) above
                        shall be determined from time to time by the Secretary-General, with
                        the approval of the Chairman. Any request for a higher amount shall be
                        made through the Secretary-General.
                            (2) All payments, including reimbursement of expenses, to the fol-
                        lowing shall in all cases be made by the Centre and not by or through
                        either party to the proceeding:
                                 (a) members of Commissions, Tribunals and Committees;
                                 (b) witnesses and experts summoned at the initiative of a
                                     Commission, Tribunal or Committee, and not of one of the
                                     parties;
                                 (c) members of the Secretariat of the Centre, including per-
                                     sons (such as interpreters, translators, reporters or secre-
                                     taries) especially engaged by the Centre for a particular
                                     proceeding;
                                 (d) the host of any proceeding held away from the seat of the
                                     Centre pursuant to Article 63 of the Convention.




                        60
Case 1:19-cv-01618-TSC          Document 1-5          Filed 06/03/19         Page 61 of 128
             (3) In order to enable the Centre to make the payments provided
        for in paragraph (2), as well as to incur other direct expenses in connec-
        tion with a proceeding (other than expenses covered by Regulation 15):
                 (a) the parties shall make advance payments to the Centre as
                     follows:
                     (i) initially as soon as a Commission or Tribunal has been
                           constituted, the Secretary-General shall, after consul-
                           tation with the President of the body in question and,
                           as far as possible, the parties, estimate the expenses
                           that will be incurred by the Centre during the next
                           three to six months and request the parties to make an
                           advance payment of this amount;
                     (ii) if at any time the Secretary-General determines, after
                           consultation with the President of the body in ques-
                           tion and as far as possible the parties, that the




                                                                                       Financial Regulations
                           advances made by the parties will not cover a revised




                                                                                        Administrative and
                           estimate of expenses for the period or any subsequent
                           period, he shall request the parties to make supple-
                           mentary advance payments.
                 (b) the Centre shall not be required to provide any service in
                     connection with a proceeding or to pay the fees, allowances
                     or expenses of the members of any Commission, Tribunal
                     or Committee, unless sufficient advance payments shall
                     previously have been made;
                 (c) if the initial advance payments are insufficient to cover esti-
                     mated future expenses, prior to requesting the parties to
                     make additional advance payments, the Secretary-General
                     shall ascertain the actual expenses incurred and commit-
                     ments entered into by the Centre with regard to each pro-
                     ceeding and shall appropriately charge or credit the parties;
                 (d) in connection with every conciliation proceeding, and in
                     connection with every arbitration proceeding unless a dif-
                     ferent division is provided for in the Arbitration Rules or is
                     decided by the parties or the Tribunal, each party shall pay
                     one half of each advance or supplemental charge, without
                     prejudice to the final decision on the payment of the cost of
                     an arbitration proceeding to be made by the Tribunal pur-
                     suant to Article 61(2) of the Convention. All advances and
                     charges shall be payable, at the place and in the currencies
                     specified by the Secretary-General, as soon as a request for
                     payment is made by him. If the amounts requested are not
                     paid in full within 30 days, then the Secretary-General shall
                     inform both parties of the default and give an opportunity
                     to either of them to make the required payment. At any
                     time 15 days after such information is sent by the Secre-

                                                                                 61
Case 1:19-cv-01618-TSC                         Document 1-5          Filed 06/03/19        Page 62 of 128
                                    tary-General, he may move that the Commission or Tri-
                                    bunal stay the proceeding, if by the date of such motion any
                                    part of the required payment is still outstanding. If any
                                    proceeding is stayed for non-payment for a consecutive
                                    period in excess of six months, the Secretary-General may,
                                    after notice to and as far as possible in consultation with
                                    the parties, move that the competent body discontinue the
                                    proceeding;
                                (e) in the event that an application for annulment of an award
                                    is registered, the above provisions of this Rule shall apply
                                    mutatis mutandis, except that the applicant shall be solely
                                    responsible for making the advance payments requested by
                                    the Secretary-General to cover expenses following the con-
                                    stitution of the Committee, and without prejudice to the
                                    right of the Committee in accordance with Article 52(4) of
                                    the Convention to decide how and by whom expenses
Financial Regulations
 Administrative and




                                    incurred in connection with the annulment proceeding
                                    shall be paid.

                                                  Regulation 15
                                            Special Services to Parties
                             (1) The Centre shall only perform any special service for a party in
                        connection with a proceeding (for example, the provision of transla-
                        tions or copies) if the party shall in advance have deposited an amount
                        sufficient to cover the charge for such service.
                             (2) Charges for special services shall normally be based on a sched-
                        ule of fees to be promulgated from time to time by the Secretary-Gen-
                        eral and communicated by him to all Contracting States as well as to the
                        parties to all pending proceedings.

                                                   Regulation 16
                                             Fee for Lodging Requests
                             The party or parties (if a request is made jointly) wishing to insti-
                        tute a conciliation or arbitration proceeding, requesting a supplemen-
                        tary decision to, or the rectification, interpretation, revision or
                        annulment of an arbitral award, or requesting resubmission of a dispute
                        to a new Tribunal after the annulment of an arbitral award, shall pay to
                        the Centre a non-refundable fee determined from time to time by the
                        Secretary-General.




                        62
Case 1:19-cv-01618-TSC         Document 1-5         Filed 06/03/19        Page 63 of 128
                                    Regulation 17
                                     The Budget
             (1) The fiscal year of the Centre shall run from July 1 of each year
        to June 30 of the following year.
             (2) Before the end of each fiscal year the Secretary-General shall
        prepare and submit, for adoption by the Administrative Council at its
        next Annual Meeting and in accordance with Article 6(1)(f) of the
        Convention, a budget for the following fiscal year. This budget is to
        indicate the expected expenditures of the Centre (excepting those to be
        incurred on a reimbursable basis) and the expected revenues (except-
        ing reimbursements).
             (3) If, during the course of a fiscal year, the Secretary-General
        determines that the expected expenditures will exceed those authorized
        in the budget, or if he should wish to incur expenditures not previously




                                                                                    Financial Regulations
        authorized, he shall, in consultation with the Chairman, prepare a sup-




                                                                                     Administrative and
        plementary budget, which he shall submit to the Administrative Coun-
        cil for adoption, either at the Annual Meeting or at any other meeting,
        or in accordance with Regulation 7(3).
             (4) The adoption of a budget constitutes authority for the Secre-
        tary-General to make expenditures and incur obligations for the pur-
        poses and within the limits specified in the budget. Unless otherwise
        provided by the Administrative Council, the Secretary-General may
        exceed the amount specified for any given budget item, provided that
        the total amount of the budget is not exceeded.
             (5) Pending the adoption of the budget by the Administrative
        Council, the Secretary-General may incur expenditures for the pur-
        poses and within the limits specified in the budget he submitted to the
        Council, up to one quarter of the amount authorized to be expended in
        the previous fiscal year but in no event exceeding the amount that the
        Bank has agreed to make available for the current fiscal year.

                                 Regulation 18
                           Assessment of Contributions
            (1) Any excess of expected expenditures over expected revenues
        shall be assessed on the Contracting States. Each State that is not a
        member of the Bank shall be assessed a fraction of the total assessment
        equal to the fraction of the budget of the International Court of Justice
        that it would have to bear if that budget were divided only among the
        Contracting States in proportion to the then current scale of contribu-
        tions applicable to the budget of the Court; the balance of the total
        assessment shall be divided among the Contracting States that are
        members of the Bank in proportion to their respective subscription to
        the capital stock of the Bank. The assessments shall be calculated by the

                                                                              63
Case 1:19-cv-01618-TSC                           Document 1-5           Filed 06/03/19         Page 64 of 128
                        Secretary-General immediately after the adoption of the annual budget,
                        on the basis of the then current membership of the Centre, and shall be
                        promptly communicated to all Contracting States. The assessments
                        shall be payable as soon as they are thus communicated.
                             (2) On the adoption of a supplementary budget, the Secretary-Gen-
                        eral shall immediately calculate supplementary assessments, which shall
                        be payable as soon as they are communicated to the Contracting States.
                             (3) A State which is party to the Convention during any part of a
                        fiscal year shall be assessed for the entire fiscal year. If a State becomes a
                        party to the Convention after the assessments for a given fiscal year have
                        been calculated, its assessment shall be calculated by the application of
                        the same appropriate factor as was applied in calculating the original
                        assessments, and no recalculation of the assessments of the other Con-
                        tracting States shall be made.
                             (4) If, after the close of a fiscal year, it is determined that there is a
Financial Regulations




                        cash surplus, such surplus shall, unless the Administrative Council
 Administrative and




                        otherwise decides, be credited to the Contracting States in proportion
                        to the assessed contributions they had paid for that fiscal year. These
                        credits shall be made with respect to the assessments for the fiscal year
                        commencing two years after the end of the fiscal year to which the sur-
                        plus pertains.

                                                      Regulation 19
                                                         Audits
                            The Secretary-General shall have an audit of the accounts of the
                        Centre made once each year and on the basis of this audit submit a
                        financial statement to the Administrative Council for consideration at
                        the Annual Meeting.


                                                     Chapter IV
                                                 General Functions
                                                 of the Secretariat
                                                    Regulation 20
                                              List of Contracting States
                            The Secretary-General shall maintain a list, which he shall transmit
                        from time to time to all Contracting States and on request to any State
                        or person, of the Contracting States (including former Contracting
                        States, showing the date on which their notice of denunciation was
                        received by the depositary), indicating for each:


                        64
Case 1:19-cv-01618-TSC         Document 1-5         Filed 06/03/19        Page 65 of 128
                (a) the date on which the Convention entered into force with
                    respect to it;
                (b) any territories excluded pursuant to Article 70 of the Con-
                    vention and the dates on which the notice of exclusion and
                    any modification of such notice were received by the
                    depositary;
                (c) any designation, pursuant to Article 25(1) of the Conven-
                    tion, of constituent subdivisions or agencies to whose
                    investment disputes the jurisdiction of the Centre extends;
                (d) any notification, pursuant to Article 25(3) of the Conven-
                    tion, that no approval by the State is required for the con-
                    sent by a constituent subdivision or agency to the
                    jurisdiction of the Centre;
                (e) any notification, pursuant to Article 25(4) of the Conven-
                    tion, of the class or classes of disputes which the State




                                                                                    Financial Regulations
                                                                                     Administrative and
                    would or would not consider submitting to the jurisdiction
                    of the Centre;
                (f) the competent court or other authority for the recognition
                    and enforcement of arbitral awards, designated pursuant to
                    Article 54(2) of the Convention;
                (g) any legislative or other measures taken, pursuant to Article
                    69 of the Convention, for making its provisions effective in
                    the territories of the State and communicated by the State
                    to the Centre.

                                   Regulation 21
                              Establishment of Panels
            (1) Whenever a Contracting State has the right to make one or
        more designations to the Panel of Conciliators or of Arbitrators, the
        Secretary-General shall invite the State to make such designations.
            (2) Each designation made by a Contracting State or by the Chair-
        man shall indicate the name, address and nationality of the designee,
        and include a statement of his qualifications, with particular reference
        to his competence in the fields of law, commerce, industry and finance.
            (3) As soon as the Secretary-General is notified of a designation, he
        shall inform the designee thereof, indicating to him the designating
        authority and the terminal date of the period of designation, and
        requesting confirmation that the designee is willing to serve.
            (4) The Secretary-General shall maintain lists, which he shall
        transmit from time to time to all Contracting States and on request to
        any State or person, of the members of the Panels of Conciliators and
        of Arbitrators, indicating for each member:

                                                                              65
Case 1:19-cv-01618-TSC                         Document 1-5          Filed 06/03/19        Page 66 of 128
                                (a) his address;
                                (b) his nationality;
                                (c) the terminal date of the current designation;
                                (d) the designating authority;
                                (e) his qualifications.

                                                    Regulation 22
                                                     Publication
                            (1) The Secretary-General shall appropriately publish information
                        about the operation of the Centre, including the registration of all
                        requests for conciliation or arbitration and in due course an indication
                        of the date and method of the termination of each proceeding.
                            (2) If both parties to a proceeding consent to the publication of:
Financial Regulations
 Administrative and




                                (a) reports of Conciliation Commissions;
                                (b) arbitral awards; or
                                (c) the minutes and other records of proceedings,
                        the Secretary-General shall arrange for the publication thereof, in an
                        appropriate form with a view to furthering the development of inter-
                        national law in relation to investments.


                                                  Chapter V
                                           Functions with Respect
                                          to Individual Proceedings
                                                    Regulation 23
                                                    The Registers
                             (1) The Secretary-General shall maintain, in accordance with rules
                        to be promulgated by him, separate Registers for requests for concilia-
                        tion and requests for arbitration. In these he shall enter all significant
                        data concerning the institution, conduct and disposition of each pro-
                        ceeding, including in particular the method of constitution and the
                        membership of each Commission, Tribunal and Committee. On the
                        Arbitration Register he shall also enter, with respect to each award, all
                        significant data concerning any request for the supplementation, recti-
                        fication, interpretation, revision or annulment of the award, and any
                        stay of enforcement.
                             (2) The Registers shall be open for inspection by any person. The
                        Secretary-General shall promulgate rules concerning access to the Reg-


                        66
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19         Page 67 of 128
        isters, and a schedule of charges for the provision of certified and uncer-
        tified extracts therefrom.

                                 Regulation 24
                             Means of Communication
             (1) During the pendency of any proceeding the Secretary-General
        shall be the official channel of written communications among the par-
        ties, the Commission, Tribunal or Committee, and the Chairman of the
        Administrative Council, except that:
                  (a) the parties may communicate directly with each other
                      unless the communication is one required by the Conven-
                      tion or the Institution, Conciliation or Arbitration Rules
                      (hereinafter referred to as the “Rules”);
                  (b) the members of any Commission, Tribunal or Committee




                                                                                      Financial Regulations
                      shall communicate directly with each other.




                                                                                       Administrative and
             (2) Instruments and documents shall be introduced into the pro-
        ceeding by transmitting them to the Secretary-General, who shall retain
        the original for the files of the Centre and arrange for appropriate dis-
        tribution of copies. If the instrument or document does not meet the
        applicable requirements, the Secretary-General:
                  (a) shall inform the party submitting it of the deficiency, and
                      of any consequent action the Secretary-General is taking;
                  (b) may, if the deficiency is merely a formal one, accept it sub-
                      ject to subsequent correction;
                  (c) may, if the deficiency consists merely of an insufficiency in
                      the number of copies or the lack of required translations,
                      provide the necessary copies or translations at the cost of
                      the party concerned.

                                    Regulation 25
                                      Secretary
            The Secretary-General shall appoint a Secretary for each Commis-
        sion, Tribunal and Committee. The Secretary may be drawn from
        among the Secretariat of the Centre, and shall in any case, while serving
        in that capacity, be considered as a member of its staff. He shall:
                 (a) represent the Secretary-General and may perform all func-
                     tions assigned to the latter by these Regulations or the
                     Rules with regard to individual proceedings or assigned to
                     the latter by the Convention, and delegated by him to the
                     Secretary;
                 (b) be the channel through which the parties may request par-
                     ticular services from the Centre;

                                                                                67
Case 1:19-cv-01618-TSC                          Document 1-5          Filed 06/03/19         Page 68 of 128
                                (c) keep summary minutes of hearings, unless the parties agree
                                    with the Commission, Tribunal or Committee on another
                                    manner of keeping the record of the hearings; and
                                (d) perform other functions with respect to the proceeding at
                                    the request of the President of the Commission, Tribunal
                                    or Committee, or at the direction of the Secretary-General.

                                                    Regulation 26
                                                 Place of Proceedings
                             (1) The Secretary-General shall make arrangements for the hold-
                        ing of conciliation and arbitration proceedings at the seat of the Centre
                        or shall, at the request of the parties and as provided in Article 63 of the
                        Convention, make or supervise arrangements if proceedings are held
                        elsewhere.
Financial Regulations




                             (2) The Secretary-General shall assist a Commission or Tribunal, at
 Administrative and




                        its request, in visiting any place connected with a dispute or in con-
                        ducting inquiries there.

                                                    Regulation 27
                                                   Other Assistance
                            (1) The Secretary-General shall provide such other assistance as
                        may be required in connection with all meetings of Commissions, Tri-
                        bunals and Committees, in particular in making translations and inter-
                        pretations from one official language of the Centre into another.
                            (2) The Secretary-General may also provide, by use of the staff and
                        equipment of the Centre or of persons employed and equipment
                        acquired on a short-time basis, other services required for the conduct
                        of proceedings, such as the duplication and translation of documents,
                        or interpretations from and to a language other than an official lan-
                        guage of the Centre.

                                                   Regulation 28
                                                Depositary Functions
                            (1) The Secretary-General shall deposit in the archives of the
                        Centre and shall make arrangements for the permanent retention of the
                        original text:
                                 (a) of the request and of all instruments and documents filed
                                     or prepared in connection with any proceeding, including
                                     the minutes of any hearing;
                                 (b) of any report by a Commission or of any award or decision
                                     by a Tribunal or Committee.

                        68
Case 1:19-cv-01618-TSC          Document 1-5           Filed 06/03/19         Page 69 of 128
            (2) Subject to the Rules and to the agreement of the parties to
        particular proceedings, and upon payment of any charges in accor-
        dance with a schedule to be promulgated by the Secretary-General, he
        shall make available to the parties certified copies of reports and
        awards (reflecting thereon any supplementary decision, rectification,
        interpretation, revision or annulment duly made, and any stay of
        enforcement while it is in effect), as well as of other instruments, doc-
        uments and minutes.


                               Chapter VI
               Special Provisions Relating to Proceedings
                                     Regulation 29
                                      Time Limits




                                                                                        Financial Regulations
                                                                                         Administrative and
            (1) All time limits, specified in the Convention or the Rules or fixed
        by a Commission, Tribunal, Committee or the Secretary-General, shall
        be computed from the date on which the limit is announced in the pres-
        ence of the parties or their representatives or on which the Secretary-
        General dispatches the pertinent notification or instrument (which
        date shall be marked on it). The day of such announcement or dispatch
        shall be excluded from the calculation.
            (2) A time limit shall be satisfied if a notification or instrument
        dispatched by a party is delivered at the seat of the Centre, or to the Sec-
        retary of the competent Commission, Tribunal or Committee that is
        meeting away from the seat of the Centre, before the close of business
        on the indicated date or, if that day is a Saturday, a Sunday, a public hol-
        iday observed at the place of delivery or a day on which for any reason
        regular mail delivery is restricted at the place of delivery, then before the
        close of business on the next subsequent day on which regular mail
        service is available.

                                  Regulation 30
                             Supporting Documentation
             (1) Documentation filed in support of any request, pleading, appli-
        cation, written observation or other instrument introduced into a pro-
        ceeding shall consist of one original and of the number of additional
        copies specified in paragraph (2). The original shall, unless otherwise
        agreed by the parties or ordered by the competent Commission, Tri-
        bunal or Committee, consist of the complete document or of a duly cer-
        tified copy or extract, except if the party is unable to obtain such
        document or certified copy or extract (in which case the reason for such
        inability must be stated).

                                                                                  69
Case 1:19-cv-01618-TSC                           Document 1-5            Filed 06/03/19         Page 70 of 128
                             (2) The number of additional copies of any document shall be
                        equal to the number of additional copies required of the instrument to
                        which the documentation relates, except that no such copies are required
                        if the document has been published and is readily available. Each addi-
                        tional copy shall be certified by the party presenting it to be a true and
                        complete copy of the original, except that if the document is lengthy and
                        relevant only in part, it is sufficient if it is certified to be a true and com-
                        plete extract of the relevant parts, which must be precisely specified.
                             (3) Each original and additional copy of a document which is not
                        in a language approved for the proceeding in question, shall, unless oth-
                        erwise ordered by the competent Commission, Tribunal or Committee,
                        be accompanied by a certified translation into such a language. How-
                        ever, if the document is lengthy and relevant only in part, it is sufficient
                        if only the relevant parts, which must be precisely specified, are trans-
                        lated, provided that the competent body may require a fuller or a com-
                        plete translation.
Financial Regulations
 Administrative and




                             (4) Whenever an extract of an original document is presented pur-
                        suant to paragraph (1) or a partial copy or translation pursuant to para-
                        graph (2) or (3), each such extract, copy and translation shall be
                        accompanied by a statement that the omission of the remainder of the
                        text does not render the portion presented misleading.


                                                 Chapter VII
                                           Immunities and Privileges
                                                    Regulation 31
                                            Certificates of Official Travel
                            The Secretary-General may issue certificates to members of Com-
                        missions, Tribunals or Committees, to officers and employees of the
                        Secretariat and to the parties, agents, counsel, advocates, witnesses and
                        experts appearing in proceedings, indicating that they are traveling in
                        connection with a proceeding under the Convention.

                                                    Regulation 32
                                                 Waiver of Immunities
                             (1) The Secretary-General may waive the immunity of:
                                 (a) the Centre;
                                 (b) members of the staff of the Centre.
                             (2) The Chairman of the Council may waive the immunity of:
                                 (a) the Secretary-General or any Deputy Secretary-General;
                                 (b) members of a Commission, Tribunal or Committee;
                        70
Case 1:19-cv-01618-TSC         Document 1-5         Filed 06/03/19        Page 71 of 128
                (c) the parties, agents, counsel, advocates, witnesses or experts
                    appearing in a proceeding, if a recommendation for such
                    waiver is made by the Commission, Tribunal or Committee
                    concerned.
            (3) The Administrative Council may waive the immunity of:
                (a) the Chairman and members of the Council;
                (b) the parties, agents, counsel, advocates, witnesses or experts
                    appearing in a proceeding, even if no recommendation for
                    such a waiver is made by the Commission, Tribunal or
                    Committee concerned;
                (c) the Centre or any person mentioned in paragraph (1)
                    or (2).


                                  Chapter VIII




                                                                                    Financial Regulations
                                                                                     Administrative and
                                  Miscellaneous
                                  Regulation 33
                               Communications with
                                Contracting States
            Unless another channel of communications is specified by the State
        concerned, all communications required by the Convention or these
        Regulations to be sent to Contracting States shall be addressed to the
        State’s representative on the Administrative Council.

                                   Regulation 34
                                 Official Languages
            (1) The official languages of the Centre shall be English, French
        and Spanish.
            (2) The texts of these Regulations in each official language shall be
        equally authentic.




                                                                              71
Case 1:19-cv-01618-TSC   Document 1-5   Filed 06/03/19   Page 72 of 128
Case 1:19-cv-01618-TSC   Document 1-5   Filed 06/03/19   Page 73 of 128




            RULES OF PROCEDURE FOR THE
            INSTITUTION OF CONCILIATION
           AND ARBITRATION PROCEEDINGS
                (INSTITUTION RULES)




                                                                   Institution Rules




                                                            73
Case 1:19-cv-01618-TSC   Document 1-5   Filed 06/03/19   Page 74 of 128
Case 1:19-cv-01618-TSC             Document 1-5                   Filed 06/03/19                  Page 75 of 128

                      RULES OF PROCEDURE FOR THE
                      INSTITUTION OF CONCILIATION
                     AND ARBITRATION PROCEEDINGS
                          (INSTITUTION RULES)

                                     Table of Contents
        Rule                                                                                           Page

        1      The Request . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    76
        2      Contents of the Request . . . . . . . . . . . . . . . . . . . . . . . . . . .            76
        3      Optional Information in the Request . . . . . . . . . . . . . . . .                      77
        4      Copies of the Request . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          77
        5      Acknowledgement of the Request . . . . . . . . . . . . . . . . . . .                     78
        6      Registration of the Request . . . . . . . . . . . . . . . . . . . . . . . . .            78
        7      Notice of Registration . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         78
        8      Withdrawal of the Request . . . . . . . . . . . . . . . . . . . . . . . . .              79
        9      Final Provisions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     79




                                                                                                              Institution Rules




                                                                                                        75
Case 1:19-cv-01618-TSC                        Document 1-5            Filed 06/03/19          Page 76 of 128
                          The Rules of Procedure for the Institution of Conciliation and Arbi-
                     tration Proceedings (the Institution Rules) of ICSID were adopted by the
                     Administrative Council of the Centre pursuant to Article 6(1)(b) of the
                     ICSID Convention.
                          The Institution Rules are supplemented by the Administrative and
                     Financial Regulations of the Centre, in particular by Regulations 16,
                     22(1), 23, 24, 30 and 34(1).
                          The Institution Rules are restricted in scope to the period of time from
                     the filing of a request to the dispatch of the notice of registration. All trans-
                     actions subsequent to that time are to be regulated in accordance with the
                     Conciliation and the Arbitration Rules.


                                            Institution Rules

                                                       Rule 1
                                                     The Request
                          (1) Any Contracting State or any national of a Contracting State
                     wishing to institute conciliation or arbitration proceedings under the
                     Convention shall address a request to that effect in writing to the Sec-
 Institution Rules




                     retary-General at the seat of the Centre. The request shall indicate
                     whether it relates to a conciliation or an arbitration proceeding. It shall
                     be drawn up in an official language of the Centre, shall be dated, and
                     shall be signed by the requesting party or its duly authorized represen-
                     tative.
                          (2) The request may be made jointly by the parties to the dispute.

                                                     Rule 2
                                             Contents of the Request
                          (1) The request shall:
                              (a) designate precisely each party to the dispute and state the
                                  address of each;
                              (b) state, if one of the parties is a constituent subdivision or
                                  agency of a Contracting State, that it has been designated to
                                  the Centre by that State pursuant to Article 25(1) of the
                                  Convention;
                              (c) indicate the date of consent and the instruments in which
                                  it is recorded, including, if one party is a constituent subdi-
                                  vision or agency of a Contracting State, similar data on the
                                  approval of such consent by that State unless it had notified
                                  the Centre that no such approval is required;

                     76
Case 1:19-cv-01618-TSC          Document 1-5           Filed 06/03/19         Page 77 of 128
                (d) indicate with respect to the party that is a national of a
                     Contracting State:
                     (i) its nationality on the date of consent; and
                     (ii) if the party is a natural person:
                           (A)     his nationality on the date of the request; and
                           (B)     that he did not have the nationality of the
                                   Contracting State party to the dispute either
                                   on the date of consent or on the date of the
                                   request; or
                     (iii) if the party is a juridical person which on the date of
                           consent had the nationality of the Contracting State
                           party to the dispute, the agreement of the parties that
                           it should be treated as a national of another Contract-
                           ing State for the purposes of the Convention;
                (e) contain information concerning the issues in dispute indi-
                     cating that there is, between the parties, a legal dispute aris-
                     ing directly out of an investment; and
                (f) state, if the requesting party is a juridical person, that it has
                     taken all necessary internal actions to authorize the
                     request.




                                                                                        Institution Rules
            (2) The information required by subparagraphs (1)(c), (1)(d)(iii)
        and (1)(f) shall be supported by documentation.
            (3) “Date of consent” means the date on which the parties to the
        dispute consented in writing to submit it to the Centre; if both parties
        did not act on the same day, it means the date on which the second
        party acted.

                                        Rule 3
                                 Optional Information
                                    in the Request
            The request may in addition set forth any provisions agreed by the
        parties regarding the number of conciliators or arbitrators and the
        method of their appointment, as well as any other provisions agreed
        concerning the settlement of the dispute.

                                       Rule 4
                                Copies of the Request
            (1) The request shall be accompanied by five additional signed
        copies. The Secretary-General may require such further copies as he
        may deem necessary.


                                                                                  77
Case 1:19-cv-01618-TSC                       Document 1-5          Filed 06/03/19         Page 78 of 128


                         (2) Any documentation submitted with the request shall conform
                     to the requirements of Administrative and Financial Regulation 30.

                                                 Rule 5
                                      Acknowledgement of the Request
                         (1) On receiving a request the Secretary-General shall:
                             (a) send an acknowledgement to the requesting party;
                             (b) take no other action with respect to the request until he has
                                 received payment of the prescribed fee.
                         (2) As soon as he has received the fee for lodging the request, the
                     Secretary-General shall transmit a copy of the request and of the
                     accompanying documentation to the other party.

                                                    Rule 6
                                         Registration of the Request
                         (1) The Secretary-General shall, subject to Rule 5(1)(b), as soon as
                     possible, either:
 Institution Rules




                             (a) register the request in the Conciliation or the Arbitration
                                  Register and on the same day notify the parties of the reg-
                                  istration; or
                             (b) if he finds, on the basis of the information contained in the
                                  request, that the dispute is manifestly outside the jurisdic-
                                  tion of the Centre, notify the parties of his refusal to regis-
                                  ter the request and of the reasons therefor.
                         (2) A proceeding under the Convention shall be deemed to have
                     been instituted on the date of the registration of the request.

                                                     Rule 7
                                             Notice of Registration
                          The notice of registration of a request shall:
                             (a) record that the request is registered and indicate the date of
                                 the registration and of the dispatch of that notice;
                             (b) notify each party that all communications and notices in
                                 connection with the proceeding will be sent to the address
                                 stated in the request, unless another address is indicated to
                                 the Centre;
                             (c) unless such information has already been provided, invite
                                 the parties to communicate to the Secretary-General any

                     78
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19        Page 79 of 128


                    provisions agreed by them regarding the number and the
                    method of appointment of the conciliators or arbitrators;
                (d) invite the parties to proceed, as soon as possible, to consti-
                    tute a Conciliation Commission in accordance with Arti-
                    cles 29 to 31 of the Convention, or an Arbitral Tribunal in
                    accordance with Articles 37 to 40;
                (e) remind the parties that the registration of the request is
                    without prejudice to the powers and functions of the Con-
                    ciliation Commission or Arbitral Tribunal in regard to
                    jurisdiction, competence and the merits; and
                (f) be accompanied by a list of the members of the Panel of
                    Conciliators or of Arbitrators of the Centre.

                                     Rule 8
                            Withdrawal of the Request
             The requesting party may, by written notice to the Secretary-Gen-
        eral, withdraw the request before it has been registered. The Secretary-
        General shall promptly notify the other party, unless, pursuant to Rule
        5(1)(b), the request had not been transmitted to it.




                                                                                     Institution Rules
                                       Rule 9
                                  Final Provisions
            (1) The texts of these Rules in each official language of the Centre
        shall be equally authentic.
            (2) These Rules may be cited as the “Institution Rules” of the
        Centre.




                                                                               79
Case 1:19-cv-01618-TSC   Document 1-5   Filed 06/03/19   Page 80 of 128
Case 1:19-cv-01618-TSC   Document 1-5   Filed 06/03/19   Page 81 of 128




                RULES OF PROCEDURE
           FOR CONCILIATION PROCEEDINGS
               (CONCILIATION RULES)




                                                                   Conciliation Rules




                                                            81
Case 1:19-cv-01618-TSC   Document 1-5   Filed 06/03/19   Page 82 of 128
Case 1:19-cv-01618-TSC              Document 1-5                  Filed 06/03/19               Page 83 of 128

                              RULES OF PROCEDURE
                         FOR CONCILIATION PROCEEDINGS
                             (CONCILIATION RULES)

                                      Table of Contents
        Chapter   Rule                                                                              Page


        I                 Establishment of the Commission
                  1       General Obligations . . . . . . . . . . . . . . . . . . . . . . . . .      85
                  2       Method of Constituting the Commission
                          in the Absence of Previous Agreement . . . . . . . . . .                   85
                  3       Appointment of Conciliators to a
                          Commission Constituted in Accordance
                          with Convention Article 29(2)(b) . . . . . . . . . . . . . .               86
                  4       Appointment of Conciliators by the
                          Chairman of the Administrative Council . . . . . . . .                     87
                  5       Acceptance of Appointments . . . . . . . . . . . . . . . . . .             87
                  6       Constitution of the Commission . . . . . . . . . . . . . . .               88
                  7       Replacement of Conciliators . . . . . . . . . . . . . . . . . .            88
                  8       Incapacity or Resignation of Conciliators . . . . . . .                    88
                  9       Disqualification of Conciliators . . . . . . . . . . . . . . . .           89
                  10      Procedure during a Vacancy on the Commission .                             89
                  11      Filling Vacancies on the Commission . . . . . . . . . . .                  90
                  12      Resumption of Proceeding after Filling a Vacancy                           90



                                                                                                           Conciliation Rules
        II                Working of the Commission
                  13      Sessions of the Commission . . . . . . . . . . . . . . . . . .             90
                  14      Sittings of the Commission . . . . . . . . . . . . . . . . . . .           91
                  15      Deliberations of the Commission . . . . . . . . . . . . . .                91
                  16      Decisions of the Commission . . . . . . . . . . . . . . . . .              92
                  17      Incapacity of the President . . . . . . . . . . . . . . . . . . . .        92
                  18      Representation of the Parties . . . . . . . . . . . . . . . . . .          92

        III               General Procedural Provisions
                  19      Procedural Orders . . . . . . . . . . . . . . . . . . . . . . . . . . .    92
                  20      Preliminary Procedural Consultation . . . . . . . . . . .                  93
                  21      Procedural Languages . . . . . . . . . . . . . . . . . . . . . . . .       93

        IV                Conciliation Procedures
                  22      Functions of the Commission . . . . . . . . . . . . . . . . .              94
                  23      Cooperation of the Parties . . . . . . . . . . . . . . . . . . . .         94
                  24      Transmission of the Request . . . . . . . . . . . . . . . . . .            95
                  25      Written Statements . . . . . . . . . . . . . . . . . . . . . . . . . .     95

                                                                                                     83
Case 1:19-cv-01618-TSC                     Document 1-5                     Filed 06/03/19                  Page 84 of 128
                           26   Supporting Documentation . . . . . . . . . . . . . . . . . . .                   95
                           27   Hearings . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   95
                           28   Witnesses and Experts . . . . . . . . . . . . . . . . . . . . . . .              96

                      V         Termination of the Proceeding
                           29   Objections to Jurisdiction . . . . . . . . . . . . . . . . . . . .               96
                           30   Closure of the Proceeding . . . . . . . . . . . . . . . . . . . .                97
                           31   Preparation of the Report . . . . . . . . . . . . . . . . . . . .                97
                           32   The Report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     97
                           33   Communication of the Report . . . . . . . . . . . . . . . .                      98

                      VI        General Provisions
                           34   Final Provisions . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       98
 Conciliation Rules




                      84
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19         Page 85 of 128
            The Rules of Procedure for Conciliation Proceedings (the Conciliation
        Rules) of ICSID were adopted by the Administrative Council of the Centre
        pursuant to Article 6(1)(c) of the ICSID Convention.
            The Conciliation Rules are supplemented by the Administrative and
        Financial Regulations of the Centre, in particular by Regulations 14-16,
        22-31 and 34(1).
            The Conciliation Rules cover the period of time from the dispatch of
        the notice of registration of a request for conciliation until a report is
        drawn up. The transactions previous to that time are to be regulated in
        accordance with the Institution Rules.


                            Conciliation Rules

                                Chapter I
                     Establishment of the Commission
                                       Rule 1
                                 General Obligations
            (1) Upon notification of the registration of the request for concili-
        ation, the parties shall, with all possible dispatch, proceed to constitute
        a Commission, with due regard to Section 2 of Chapter III of the Con-
        vention.


                                                                                      Conciliation Rules
            (2) Unless such information is provided in the request, the parties
        shall communicate to the Secretary-General as soon as possible any
        provisions agreed by them regarding the number of conciliators and the
        method of their appointment.

                                   Rule 2
                Method of Constituting the Commission in the
                      Absence of Previous Agreement
             (1) If the parties, at the time of the registration of the request for
        conciliation, have not agreed upon the number of conciliators and the
        method of their appointment, they shall, unless they agree otherwise,
        follow the following procedure:
                 (a) the requesting party shall, within 10 days after the registra-
                      tion of the request, propose to the other party the appoint-
                      ment of a sole conciliator or of a specified uneven number
                      of conciliators and specify the method proposed for their
                      appointment;

                                                                                85
Case 1:19-cv-01618-TSC                        Document 1-5          Filed 06/03/19         Page 86 of 128
                               (b) within 20 days after receipt of the proposals made by the
                                   requesting party, the other party shall:
                                   (i) accept such proposals; or
                                   (ii) make other proposals regarding the number of concil-
                                        iators and the method of their appointment;
                               (c) within 20 days after receipt of the reply containing any such
                                   other proposals, the requesting party shall notify the other
                                   party whether it accepts or rejects such proposals.
                           (2) The communications provided for in paragraph (1) shall be
                      made or promptly confirmed in writing and shall either be transmitted
                      through the Secretary-General or directly between the parties with a
                      copy to the Secretary-General. The parties shall promptly notify the
                      Secretary-General of the contents of any agreement reached.
                           (3) At any time 60 days after the registration of the request, if no
                      agreement on another procedure is reached, either party may inform
                      the Secretary-General that it chooses the formula provided for in Arti-
                      cle 29(2)(b) of the Convention. The Secretary-General shall thereupon
                      promptly inform the other party that the Commission is to be consti-
                      tuted in accordance with that Article.

                                                 Rule 3
                                       Appointment of Conciliators
                                to a Commission Constituted in Accordance
                                     with Convention Article 29(2)(b)
                           (1) If the Commission is to be constituted in accordance with Arti-
                      cle 29(2)(b) of the Convention:
 Conciliation Rules




                               (a) either party shall, in a communication to the other party:
                                    (i) name two persons, identifying one of them as the con-
                                         ciliator appointed by it and the other as the conciliator
                                         proposed to be the President of the Commission; and
                                    (ii) invite the other party to concur in the appointment of
                                         the conciliator proposed to be the President of the
                                         Commission and to appoint another conciliator;
                               (b) promptly upon receipt of this communication the other
                                    party shall, in its reply:
                                    (i) name a person as the conciliator appointed by it; and
                                    (ii) concur in the appointment of the conciliator pro-
                                         posed to be the President of the Commission or name
                                         another person as the conciliator proposed to be Pres-
                                         ident;



                      86
Case 1:19-cv-01618-TSC          Document 1-5           Filed 06/03/19         Page 87 of 128
                (c) promptly upon receipt of the reply containing such a pro-
                     posal, the initiating party shall notify the other party whether
                     it concurs in the appointment of the conciliator proposed by
                     that party to be the President of the Commission.
            (2) The communications provided for in this Rule shall be made or
        promptly confirmed in writing and shall either be transmitted through
        the Secretary-General or directly between the parties with a copy to the
        Secretary-General.

                                  Rule 4
                 Appointment of Conciliators by the Chairman
                        of the Administrative Council
            (1) If the Commission is not constituted within 90 days after the
        dispatch by the Secretary-General of the notice of registration, or such
        other period as the parties may agree, either party may, through the Sec-
        retary-General, address to the Chairman of the Administrative Council
        a request in writing to appoint the conciliator or conciliators not yet
        appointed and to designate a conciliator to be the President of the
        Commission.
            (2) The provision of paragraph (1) shall apply mutatis mutandis in
        the event that the parties have agreed that the conciliators shall elect the
        President of the Commission and they fail to do so.
            (3) The Secretary-General shall forthwith send a copy of the
        request to the other party.
            (4) The Chairman shall use his best efforts to comply with that
        request within 30 days after its receipt. Before he proceeds to make an


                                                                                        Conciliation Rules
        appointment or designation, with due regard to Article 31(1) of the
        Convention, he shall consult both parties as far as possible.
            (5) The Secretary-General shall promptly notify the parties of any
        appointment or designation made by the Chairman.

                                      Rule 5
                            Acceptance of Appointments
             (1) The party or parties concerned shall notify the Secretary-Gen-
        eral of the appointment of each conciliator and indicate the method of
        his appointment.
             (2) As soon as the Secretary-General has been informed by a party
        or the Chairman of the Administrative Council of the appointment of
        a conciliator, he shall seek an acceptance from the appointee.
             (3) If a conciliator fails to accept his appointment within 15 days,
        the Secretary-General shall promptly notify the parties, and if appro-
        priate the Chairman, and invite them to proceed to the appointment of

                                                                                  87
Case 1:19-cv-01618-TSC                        Document 1-5          Filed 06/03/19         Page 88 of 128
                      another conciliator in accordance with the method followed for the pre-
                      vious appointment.

                                                    Rule 6
                                        Constitution of the Commission
                           (1) The Commission shall be deemed to be constituted and the
                      proceeding to have begun on the date the Secretary-General notifies the
                      parties that all the conciliators have accepted their appointment.
                           (2) Before or at the first session of the Commission, each concilia-
                      tor shall sign a declaration in the following form:
                           “To the best of my knowledge there is no reason why I should not
                           serve on the Conciliation Commission constituted by the Interna-
                           tional Centre for Settlement of Investment Disputes with respect to
                           a dispute between _________________and _________________.
                           “I shall keep confidential all information coming to my knowledge
                           as a result of my participation in this proceeding, as well as the con-
                           tents of any report drawn up by the Commission.
                           “I shall not accept any instruction or compensation with regard to
                           the proceeding from any source except as provided in the Conven-
                           tion on the Settlement of Investment Disputes between States and
                           Nationals of Other States and in the Regulations and Rules made
                           pursuant thereto.
                           “A statement of my past and present professional, business and
                           other relationships (if any) with the parties is attached hereto.”
                           Any conciliator failing to sign such a declaration by the end of the
                      first session of the Commission shall be deemed to have resigned.
 Conciliation Rules




                                                   Rule 7
                                          Replacement of Conciliators
                          At any time before the Commission is constituted, each party may
                      replace any conciliator appointed by it and the parties may by common
                      consent agree to replace any conciliator. The procedure of such replace-
                      ment shall be in accordance with Rules 1, 5 and 6.

                                                   Rule 8
                                  Incapacity or Resignation of Conciliators
                          (1) If a conciliator becomes incapacitated or unable to perform the
                      duties of his office, the procedure in respect of the disqualification of
                      conciliators set forth in Rule 9 shall apply.
                          (2) A conciliator may resign by submitting his resignation to the
                      other members of the Commission and the Secretary-General. If the

                      88
Case 1:19-cv-01618-TSC          Document 1-5           Filed 06/03/19         Page 89 of 128
        conciliator was appointed by one of the parties, the Commission shall
        promptly consider the reasons for his resignation and decide whether it
        consents thereto. The Commission shall promptly notify the Secretary-
        General of its decision.

                                       Rule 9
                          Disqualification of Conciliators
              (1) A party proposing the disqualification of a conciliator pursuant
        to Article 57 of the Convention shall promptly, and in any event before
        the Commission first recommends terms of settlement of the dispute to
        the parties or when the proceeding is closed (whichever occurs earlier),
        file its proposal with the Secretary-General, stating its reasons therefor.
              (2) The Secretary-General shall forthwith:
                  (a) transmit the proposal to the members of the Commission
                      and, if it relates to a sole conciliator or to a majority of the
                      members of the Commission, to the Chairman of the
                      Administrative Council; and
                  (b) notify the other party of the proposal.
              (3) The conciliator to whom the proposal relates may, without
        delay, furnish explanations to the Commission or the Chairman, as the
        case may be.
              (4) Unless the proposal relates to a majority of the members of the
        Commission, the other members shall promptly consider and vote on
        the proposal in the absence of the conciliator concerned. If those mem-
        bers are equally divided, they shall, through the Secretary-General,
        promptly notify the Chairman of the proposal, of any explanation fur-


                                                                                         Conciliation Rules
        nished by the conciliator concerned and of their failure to reach a deci-
        sion.
              (5) Whenever the Chairman has to decide on a proposal to dis-
        qualify a conciliator, he shall use his best efforts to take that decision
        within 30 days after he has received the proposal.
              (6) The proceeding shall be suspended until a decision has been
        taken on the proposal.

                                      Rule 10
                             Procedure during a Vacancy
                                 on the Commission
             (1) The Secretary-General shall forthwith notify the parties and, if
        necessary, the Chairman of the Administrative Council of the disquali-
        fication, death, incapacity or resignation of a conciliator and of the con-
        sent, if any, of the Commission to a resignation.


                                                                                   89
Case 1:19-cv-01618-TSC                        Document 1-5           Filed 06/03/19         Page 90 of 128
                          (2) Upon the notification by the Secretary-General of a vacancy on
                      the Commission, the proceeding shall be or remain suspended until the
                      vacancy has been filled.

                                                      Rule 11
                                                 Filling Vacancies
                                                on the Commission
                          (1) Except as provided in paragraph (2), a vacancy resulting from
                      the disqualification, death, incapacity or resignation of a conciliator
                      shall be promptly filled by the same method by which his appointment
                      had been made.
                          (2) In addition to filling vacancies relating to conciliators
                      appointed by him, the Chairman of the Administrative Council shall
                      appoint a person from the Panel of Conciliators:
                               (a) to fill a vacancy caused by the resignation, without the con-
                                   sent of the Commission, of a conciliator appointed by a
                                   party; or
                               (b) at the request of either party, to fill any other vacancy, if no
                                   new appointment is made and accepted within 45 days of
                                   the notification of the vacancy by the Secretary-General.
                          (3) The procedure for filling a vacancy shall be in accordance with
                      Rules 1, 4(4), 4(5), 5 and, mutatis mutandis, 6(2).

                                                     Rule 12
                                           Resumption of Proceeding
                                             after Filling a Vacancy
 Conciliation Rules




                          As soon as a vacancy on the Commission has been filled, the pro-
                      ceeding shall continue from the point it had reached at the time the
                      vacancy occurred. The newly appointed conciliator may, however,
                      require that any hearings be repeated in whole or in part.


                                                Chapter II
                                        Working of the Commission
                                                    Rule 13
                                          Sessions of the Commission
                           (1) The Commission shall hold its first session within 60 days after
                      its constitution or such other period as the parties may agree. The dates
                      of that session shall be fixed by the President of the Commission after
                      consultation with its members and the Secretary-General. If upon its

                      90
Case 1:19-cv-01618-TSC          Document 1-5           Filed 06/03/19         Page 91 of 128
        constitution the Commission has no President because the parties have
        agreed that the President shall be elected by its members, the Secretary-
        General shall fix the dates of that session. In both cases, the parties shall
        be consulted as far as possible.
             (2) The dates of subsequent sessions shall be determined by the
        Commission, after consultation with the Secretary-General and with
        the parties as far as possible.
             (3) The Commission shall meet at the seat of the Centre or at such
        other place as may have been agreed by the parties in accordance with
        Article 63 of the Convention. If the parties agree that the proceeding
        shall be held at a place other than the Centre or an institution with
        which the Centre has made the necessary arrangements, they shall con-
        sult with the Secretary-General and request the approval of the Com-
        mission. Failing such approval, the Commission shall meet at the seat of
        the Centre.
             (4) The Secretary-General shall notify the members of the Com-
        mission and the parties of the dates and place of the sessions of the
        Commission in good time.

                                       Rule 14
                             Sittings of the Commission
             (1) The President of the Commission shall conduct its hearings
        and preside at its deliberations.
             (2) Except as the parties otherwise agree, the presence of a major-
        ity of the members of the Commission shall be required at its sittings.
             (3) The President of the Commission shall fix the date and hour of


                                                                                        Conciliation Rules
        its sittings.

                                        Rule 15
                                    Deliberations of
                                    the Commission
            (1) The deliberations of the Commission shall take place in private
        and remain secret.
            (2) Only members of the Commission shall take part in its deliber-
        ations. No other person shall be admitted unless the Commission
        decides otherwise.




                                                                                  91
Case 1:19-cv-01618-TSC                      Document 1-5          Filed 06/03/19       Page 92 of 128
                                                    Rule 16
                                                  Decisions of
                                                the Commission
                          (1) Decisions of the Commission shall be taken by a majority of
                      the votes of all its members. Abstention shall count as a negative vote.
                          (2) Except as otherwise provided by these Rules or decided by the
                      Commission, it may take any decision by correspondence among its
                      members, provided that all of them are consulted. Decisions so taken
                      shall be certified by the President of the Commission.

                                                     Rule 17
                                                  Incapacity of
                                                  the President
                           If at any time the President of the Commission should be unable to
                      act, his functions shall be performed by one of the other members of
                      the Commission, acting in the order in which the Secretary-General
                      had received the notice of their acceptance of their appointment to the
                      Commission.

                                                    Rule 18
                                               Representation of
                                                  the Parties
                          (1) Each party may be represented or assisted by agents, counsel or
                      advocates whose names and authority shall be notified by that party to
                      the Secretary-General, who shall promptly inform the Commission and
 Conciliation Rules




                      the other party.
                          (2) For the purposes of these Rules, the expression “party”
                      includes, where the context so admits, an agent, counsel or advocate
                      authorized to represent that party.


                                              Chapter III
                                     General Procedural Provisions
                                                    Rule 19
                                               Procedural Orders
                          The Commission shall make the orders required for the conduct of
                      the proceeding.



                      92
Case 1:19-cv-01618-TSC         Document 1-5         Filed 06/03/19        Page 93 of 128
                                     Rule 20
                              Preliminary Procedural
                                   Consultation
             (1) As early as possible after the constitution of a Commission, its
        President shall endeavor to ascertain the views of the parties regarding
        questions of procedure. For this purpose he may request the parties to
        meet him. He shall, in particular, seek their views on the following mat-
        ters:
                 (a) the number of members of the Commission required to
                     constitute a quorum at its sittings;
                 (b) the language or languages to be used in the proceeding;
                 (c) the evidence, oral or written, which each party intends to
                     produce or to request the Commission to call for, and the
                     written statements which each party intends to file, as well
                     as the time limits within which such evidence should be
                     produced and such statements filed;
                 (d) the number of copies desired by each party of instruments
                     filed by the other; and
                 (e) the manner in which the record of the hearings shall be
                     kept.
             (2) In the conduct of the proceeding the Commission shall apply
        any agreement between the parties on procedural matters, except as
        otherwise provided in the Convention or the Administrative and Finan-
        cial Regulations.



                                                                                    Conciliation Rules
                                     Rule 21
                               Procedural Languages
             (1) The parties may agree on the use of one or two languages to be
        used in the proceeding, provided that, if they agree on any language
        that is not an official language of the Centre, the Commission, after
        consultation with the Secretary-General, gives its approval. If the par-
        ties do not agree on any such procedural language, each of them may
        select one of the official languages (i.e., English, French and Spanish)
        for this purpose.
             (2) If two procedural languages are selected by the parties, any
        instrument may be filed in either language. Either language may be used
        at the hearings, subject, if the Commission so requires, to translation
        and interpretation. The recommendations and the report of the Com-
        mission shall be rendered and the record kept in both procedural lan-
        guages, both versions being equally authentic.



                                                                              93
Case 1:19-cv-01618-TSC                         Document 1-5           Filed 06/03/19         Page 94 of 128
                                                  Chapter IV
                                           Conciliation Procedures
                                                       Rule 22
                                                     Functions of
                                                   the Commission
                          (1) In order to clarify the issues in dispute between the parties, the
                      Commission shall hear the parties and shall endeavor to obtain any
                      information that might serve this end. The parties shall be associated
                      with its work as closely as possible.
                          (2) In order to bring about agreement between the parties, the
                      Commission may, from time to time at any stage of the proceeding,
                      make—orally or in writing—recommendations to the parties. It may
                      recommend that the parties accept specific terms of settlement or that
                      they refrain, while it seeks to bring about agreement between them,
                      from specific acts that might aggravate the dispute; it shall point out to
                      the parties the arguments in favor of its recommendations. It may fix
                      time limits within which each party shall inform the Commission of its
                      decision concerning the recommendations made.
                          (3) The Commission, in order to obtain information that might
                      enable it to discharge its functions, may at any stage of the proceeding:
                               (a) request from either party oral explanations, documents
                                   and other information;
                               (b) request evidence from other persons; and
                               (c) with the consent of the party concerned, visit any place
 Conciliation Rules




                                   connected with the dispute or conduct inquiries there, pro-
                                   vided that the parties may participate in any such visits and
                                   inquiries.

                                                     Rule 23
                                            Cooperation of the Parties
                          (1) The parties shall cooperate in good faith with the Commission
                      and, in particular, at its request furnish all relevant documents, infor-
                      mation and explanations as well as use the means at their disposal to
                      enable the Commission to hear witnesses and experts whom it desires
                      to call. The parties shall also facilitate visits to and inquiries at any place
                      connected with the dispute that the Commission desires to undertake.
                          (2) The parties shall comply with any time limits agreed with or
                      fixed by the Commission.




                      94
Case 1:19-cv-01618-TSC          Document 1-5          Filed 06/03/19         Page 95 of 128
                                      Rule 24
                            Transmission of the Request
            As soon as the Commission is constituted, the Secretary-General
        shall transmit to each member a copy of the request by which the pro-
        ceeding was initiated, of the supporting documentation, of the notice of
        registration and of any communication received from either party in
        response thereto.

                                       Rule 25
                                 Written Statements
             (1) Upon the constitution of the Commission, its President shall
        invite each party to file, within 30 days or such longer time limit as he
        may fix, a written statement of its position. If, upon its constitution, the
        Commission has no President, such invitation shall be issued and any
        such longer time limit shall be fixed by the Secretary-General. At any
        stage of the proceeding, within such time limits as the Commission
        shall fix, either party may file such other written statements as it deems
        useful and relevant.
             (2) Except as otherwise provided by the Commission after consul-
        tation with the parties and the Secretary-General, every written state-
        ment or other instrument shall be filed in the form of a signed original
        accompanied by additional copies whose number shall be two more
        than the number of members of the Commission.

                                      Rule 26
                             Supporting Documentation

                                                                                       Conciliation Rules
            (1) Every written statement or other instrument filed by a party
        may be accompanied by supporting documentation, in such form and
        number of copies as required by Administrative and Financial Regula-
        tion 30.
            (2) Supporting documentation shall ordinarily be filed together
        with the instrument to which it relates, and in any case within the time
        limit fixed for the filing of such instrument.

                                        Rule 27
                                        Hearings
            (1) The hearings of the Commission shall take place in private and,
        except as the parties otherwise agree, shall remain secret.
            (2) The Commission shall decide, with the consent of the parties,
        which other persons besides the parties, their agents, counsel and advo-


                                                                                 95
Case 1:19-cv-01618-TSC                        Document 1-5           Filed 06/03/19         Page 96 of 128
                      cates, witnesses and experts during their testimony, and officers of the
                      Commission may attend the hearings.

                                                    Rule 28
                                              Witnesses and Experts
                          (1) Each party may, at any stage of the proceeding, request that the
                      Commission hear the witnesses and experts whose evidence the party
                      considers relevant. The Commission shall fix a time limit within which
                      such hearing shall take place.
                          (2) Witnesses and experts shall, as a rule, be examined before the
                      Commission by the parties under the control of its President. Questions
                      may also be put to them by any member of the Commission.
                          (3) If a witness or expert is unable to appear before it, the Com-
                      mission, in agreement with the parties, may make appropriate arrange-
                      ments for the evidence to be given in a written deposition or to be taken
                      by examination elsewhere. The parties may participate in any such
                      examination.


                                                Chapter V
                                      Termination of the Proceeding
                                                    Rule 29
                                           Objections to Jurisdiction
                           (1) Any objection that the dispute is not within the jurisdiction of
 Conciliation Rules




                      the Centre or, for other reasons, is not within the competence of the
                      Commission shall be made as early as possible. A party shall file the
                      objection with the Secretary-General no later than in its first written
                      statement or at the first hearing if that occurs earlier, unless the facts on
                      which the objection is based are unknown to the party at that time.
                           (2) The Commission may on its own initiative consider, at any
                      stage of the proceeding, whether the dispute before it is within the juris-
                      diction of the Centre and within its own competence.
                           (3) Upon the formal raising of an objection, the proceeding on the
                      merits shall be suspended. The Commission shall obtain the views of
                      the parties on the objection.
                           (4) The Commission may deal with the objection as a preliminary
                      question or join it to the merits of the dispute. If the Commission over-
                      rules the objection or joins it to the merits, it shall resume considera-
                      tion of the latter without delay.
                           (5) If the Commission decides that the dispute is not within the
                      jurisdiction of the Centre or not within its own competence, it shall

                      96
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19         Page 97 of 128
        close the proceeding and draw up a report to that effect, in which it shall
        state its reasons.

                                      Rule 30
                             Closure of the Proceeding
            (1) If the parties reach agreement on the issues in dispute, the
        Commission shall close the proceeding and draw up its report noting
        the issues in dispute and recording that the parties have reached agree-
        ment. At the request of the parties, the report shall record the detailed
        terms and conditions of their agreement.
            (2) If at any stage of the proceeding it appears to the Commission
        that there is no likelihood of agreement between the parties, the Com-
        mission shall, after notice to the parties, close the proceeding and draw
        up its report noting the submission of the dispute to conciliation and
        recording the failure of the parties to reach agreement.
            (3) If one party fails to appear or participate in the proceeding, the
        Commission shall, after notice to the parties, close the proceeding and
        draw up its report noting the submission of the dispute to conciliation
        and recording the failure of that party to appear or participate.

                                      Rule 31
                             Preparation of the Report
            The report of the Commission shall be drawn up and signed within
        60 days after the closure of the proceeding.

                                       Rule 32

                                                                                      Conciliation Rules
                                      The Report
            (1) The report shall be in writing and shall contain, in addition to
        the material specified in paragraph (2) and in Rule 30:
                (a) a precise designation of each party;
                (b) a statement that the Commission was established under the
                    Convention, and a description of the method of its consti-
                    tution;
                (c) the names of the members of the Commission, and an
                    identification of the appointing authority of each;
                (d) the names of the agents, counsel and advocates of the par-
                    ties;
                (e) the dates and place of the sittings of the Commission; and
                (f) a summary of the proceeding.



                                                                                97
Case 1:19-cv-01618-TSC                       Document 1-5          Filed 06/03/19        Page 98 of 128
                           (2) The report shall also record any agreement of the parties, pur-
                      suant to Article 35 of the Convention, concerning the use in other pro-
                      ceedings of the views expressed or statements or admissions or offers of
                      settlement made in the proceeding before the Commission or of the
                      report or any recommendation made by the Commission.
                           (3) The report shall be signed by the members of the Commission;
                      the date of each signature shall be indicated. The fact that a member
                      refuses to sign the report shall be recorded therein.

                                                     Rule 33
                                                 Communication
                                                  of the Report
                          (1) Upon signature by the last conciliator to sign, the Secretary-
                      General shall promptly:
                              (a) authenticate the original text of the report and deposit it in
                                   the archives of the Centre; and
                              (b) dispatch a certified copy to each party, indicating the date
                                   of dispatch on the original text and on all copies.
                          (2) The Secretary-General shall, upon request, make available to a
                      party additional certified copies of the report.
                          (3) The Centre shall not publish the report without the consent of
                      the parties.


                                                Chapter VI
 Conciliation Rules




                                             General Provisions
                                                     Rule 34
                                                 Final Provisions
                          (1) The texts of these Rules in each official language of the Centre
                      shall be equally authentic.
                          (2) These Rules may be cited as the “Conciliation Rules” of the
                      Centre.




                      98
Case 1:19-cv-01618-TSC   Document 1-5   Filed 06/03/19   Page 99 of 128




                  RULES OF PROCEDURE
                    FOR ARBITRATION
                      PROCEEDINGS
                  (ARBITRATION RULES)




                                                                   Arbitration Rules




                                                            99
Case 1:19-cv-01618-TSC   Document 1-5   Filed 06/03/19   Page 100 of 128
Case 1:19-cv-01618-TSC              Document 1-5                   Filed 06/03/19                 Page 101 of 128

                            RULES OF PROCEDURE FOR
                            ARBITRATION PROCEEDINGS
                              (ARBITRATION RULES)

                                      Table of Contents
         Chapter   Rule                                                                                 Page

         I                Establishment of the Tribunal
                   1      General Obligations . . . . . . . . . . . . . . . . . . . . . . . . .         103
                   2      Method of Constituting the Tribunal
                          in the Absence of Previous Agreement . . . . . . . . . .                      104
                   3      Appointment of Arbitrators to a
                          Tribunal Constituted in Accordance
                          with Convention Article 37(2)(b) . . . . . . . . . . . . . .                  104
                   4      Appointment of Arbitrators by the
                          Chairman of the Administrative Council . . . . . . . .                        105
                   5      Acceptance of Appointments . . . . . . . . . . . . . . . . . .                106
                   6      Constitution of the Tribunal . . . . . . . . . . . . . . . . . .              106
                   7      Replacement of Arbitrators . . . . . . . . . . . . . . . . . . .              107
                   8      Incapacity or Resignation of Arbitrators . . . . . . . .                      107
                   9      Disqualification of Arbitrators . . . . . . . . . . . . . . . . .             107
                   10     Procedure during a Vacancy on the Tribunal . . . . .                          108
                   11     Filling Vacancies on the Tribunal . . . . . . . . . . . . . .                 108
                   12     Resumption of Proceeding after
                          Filling a Vacancy . . . . . . . . . . . . . . . . . . . . . . . . . . . .     109

         II               Working of the Tribunal
                   13     Sessions of the Tribunal . . . . . . . . . . . . . . . . . . . . . .          109
                   14     Sittings of the Tribunal . . . . . . . . . . . . . . . . . . . . . . .        110
                   15     Deliberations of the Tribunal . . . . . . . . . . . . . . . . . .             110
                   16     Decisions of the Tribunal . . . . . . . . . . . . . . . . . . . . .           110
                   17     Incapacity of the President . . . . . . . . . . . . . . . . . . . .           110
                                                                                                               Arbitration Rules




                   18     Representation of the Parties . . . . . . . . . . . . . . . . . .             110

         III              General Procedural Provisions
                   19     Procedural Orders . . . . . . . . . . . . . . . . . . . . . . . . . . .       111
                   20     Preliminary Procedural Consultation . . . . . . . . . . .                     111
                   21     Pre-Hearing Conference . . . . . . . . . . . . . . . . . . . . . .            111
                   22     Procedural Languages . . . . . . . . . . . . . . . . . . . . . . . .          112
                   23     Copies of Instruments . . . . . . . . . . . . . . . . . . . . . . .           112
                   24     Supporting Documentation . . . . . . . . . . . . . . . . . . .                112
                   25     Correction of Errors . . . . . . . . . . . . . . . . . . . . . . . . .        113
                   26     Time Limits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   113


                                                                                                        101
Case 1:19-cv-01618-TSC                      Document 1-5                     Filed 06/03/19                   Page 102 of 128
                             27   Waiver . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 113
                             28   Cost of Proceeding . . . . . . . . . . . . . . . . . . . . . . . . . . 113

                      IV          Written and Oral Procedures
                             29   Normal Procedures . . . . . . . . . . . . . . . . . . . . . . . . . .             114
                             30   Transmission of the Request . . . . . . . . . . . . . . . . . .                   114
                             31   The Written Procedure . . . . . . . . . . . . . . . . . . . . . . .               114
                             32   The Oral Procedure . . . . . . . . . . . . . . . . . . . . . . . . . .            115
                             33   Marshalling of Evidence . . . . . . . . . . . . . . . . . . . . . .               115
                             34   Evidence: General Principles . . . . . . . . . . . . . . . . . .                  115
                             35   Examination of Witnesses and Experts . . . . . . . . . .                          116
                             36   Witnesses and Experts: Special Rules . . . . . . . . . . .                        116
                             37   Visits and Inquiries; Submissions of
                                  Non-disputing Parties . . . . . . . . . . . . . . . . . . . . . . . .             117
                             38   Closure of the Proceeding . . . . . . . . . . . . . . . . . . . .                 117

                      V           Particular Procedures
                             39   Provisional Measures . . . . . . . . . . . . . . . . . . . . . . . .              118
                             40   Ancillary Claims . . . . . . . . . . . . . . . . . . . . . . . . . . . .          118
                             41   Preliminary Objections . . . . . . . . . . . . . . . . . . . . . . .              119
                             42   Default . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   120
                             43   Settlement and Discontinuance . . . . . . . . . . . . . . . .                     120
                             44   Discontinuance at Request of a Party . . . . . . . . . . .                        121
                             45   Discontinuance for Failure of Parties to Act . . . . .                            121

                      VI          The Award
                             46   Preparation of the Award . . . . . . . . . . . . . . . . . . . . .                121
                             47   The Award . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       121
                             48   Rendering of the Award . . . . . . . . . . . . . . . . . . . . . .                122
                             49   Supplementary Decisions and Rectification . . . . . .                             123

                      VII         Interpretation, Revision and Annulment
                                  of the Award
                             50   The Application . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         124
                             51   Interpretation or Revision: Further Procedures . . .                              125
  Arbitration Rules




                             52   Annulment: Further Procedures . . . . . . . . . . . . . . .                       126
                             53   Rules of Procedure . . . . . . . . . . . . . . . . . . . . . . . . . .            126
                             54   Stay of Enforcement of the Award . . . . . . . . . . . . . .                      126
                             55   Resubmission of Dispute after an Annulment . . . .                                127

                      VIII        General Provisions
                             56   Final Provisions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 128




                      102
Case 1:19-cv-01618-TSC           Document 1-5          Filed 06/03/19          Page 103 of 128
             The Rules of Procedure for Arbitration Proceedings (the Arbitration
         Rules) of ICSID were adopted by the Administrative Council of the Centre
         pursuant to Article 6(1)(c) of the ICSID Convention.
             The Arbitration Rules are supplemented by the Administrative and
         Financial Regulations of the Centre, in particular by Regulations 14-16,
         22-31 and 34(1).
             The Arbitration Rules cover the period of time from the dispatch of the
         notice of registration of a request for arbitration until an award is rendered
         and all challenges possible to it under the Convention have been exhausted.
         The transactions previous to that time are to be regulated in accordance
         with the Institution Rules.


                               Arbitration Rules

                                   Chapter I
                         Establishment of the Tribunal
                                         Rule 1
                                   General Obligations
              (1) Upon notification of the registration of the request for arbitra-
         tion, the parties shall, with all possible dispatch, proceed to constitute a
         Tribunal, with due regard to Section 2 of Chapter IV of the Convention.
              (2) Unless such information is provided in the request, the parties
         shall communicate to the Secretary-General as soon as possible any
         provisions agreed by them regarding the number of arbitrators and the
         method of their appointment.
              (3) The majority of the arbitrators shall be nationals of States other
         than the State party to the dispute and of the State whose national is a
                                                                                          Arbitration Rules



         party to the dispute, unless the sole arbitrator or each individual
         member of the Tribunal is appointed by agreement of the parties.
         Where the Tribunal is to consist of three members, a national of either
         of these States may not be appointed as an arbitrator by a party without
         the agreement of the other party to the dispute. Where the Tribunal is
         to consist of five or more members, nationals of either of these States
         may not be appointed as arbitrators by a party if appointment by the
         other party of the same number of arbitrators of either of these nation-
         alities would result in a majority of arbitrators of these nationalities.
              (4) No person who had previously acted as a conciliator or arbitra-
         tor in any proceeding for the settlement of the dispute may be
         appointed as a member of the Tribunal.

                                                                                   103
Case 1:19-cv-01618-TSC                       Document 1-5          Filed 06/03/19        Page 104 of 128
                                                    Rule 2
                                            Method of Constituting
                                          the Tribunal in the Absence
                                            of Previous Agreement
                           (1) If the parties, at the time of the registration of the request for
                      arbitration, have not agreed upon the number of arbitrators and the
                      method of their appointment, they shall, unless they agree otherwise,
                      follow the following procedure:
                               (a) the requesting party shall, within 10 days after the registra-
                                    tion of the request, propose to the other party the appoint-
                                    ment of a sole arbitrator or of a specified uneven number
                                    of arbitrators and specify the method proposed for their
                                    appointment;
                               (b) within 20 days after receipt of the proposals made by the
                                    requesting party, the other party shall:
                                    (i) accept such proposals; or
                                    (ii) make other proposals regarding the number of arbi-
                                         trators and the method of their appointment;
                               (c) within 20 days after receipt of the reply containing any such
                                    other proposals, the requesting party shall notify the other
                                    party whether it accepts or rejects such proposals.
                           (2) The communications provided for in paragraph (1) shall be
                      made or promptly confirmed in writing and shall either be transmitted
                      through the Secretary-General or directly between the parties with a
                      copy to the Secretary-General. The parties shall promptly notify the
                      Secretary-General of the contents of any agreement reached.
                           (3) At any time 60 days after the registration of the request, if no
                      agreement on another procedure is reached, either party may inform
                      the Secretary-General that it chooses the formula provided for in Arti-
                      cle 37(2)(b) of the Convention. The Secretary-General shall thereupon
                      promptly inform the other party that the Tribunal is to be constituted
  Arbitration Rules




                      in accordance with that Article.

                                                   Rule 3
                                         Appointment of Arbitrators
                                  to a Tribunal Constituted in Accordance
                                     with Convention Article 37(2)(b)
                          (1) If the Tribunal is to be constituted in accordance with Article
                      37(2)(b) of the Convention:
                              (a) either party shall in a communication to the other party:


                      104
Case 1:19-cv-01618-TSC          Document 1-5          Filed 06/03/19        Page 105 of 128
                     (i) name two persons, identifying one of them, who shall
                          not have the same nationality as nor be a national of
                          either party, as the arbitrator appointed by it, and the
                          other as the arbitrator proposed to be the President of
                          the Tribunal; and
                     (ii) invite the other party to concur in the appointment of
                          the arbitrator proposed to be the President of the Tri-
                          bunal and to appoint another arbitrator;
                 (b) promptly upon receipt of this communication the other
                     party shall, in its reply:
                     (i) name a person as the arbitrator appointed by it, who
                          shall not have the same nationality as nor be a national
                          of either party; and
                     (ii) concur in the appointment of the arbitrator proposed
                          to be the President of the Tribunal or name another
                          person as the arbitrator proposed to be President;
                 (c) promptly upon receipt of the reply containing such a pro-
                     posal, the initiating party shall notify the other party
                     whether it concurs in the appointment of the arbitrator
                     proposed by that party to be the President of the Tribunal.
             (2) The communications provided for in this Rule shall be made or
         promptly confirmed in writing and shall either be transmitted through
         the Secretary-General or directly between the parties with a copy to the
         Secretary-General.

                                       Rule 4
                             Appointment of Arbitrators
                                 by the Chairman of
                             the Administrative Council
             (1) If the Tribunal is not constituted within 90 days after the dis-
         patch by the Secretary-General of the notice of registration, or such
                                                                                       Arbitration Rules



         other period as the parties may agree, either party may, through the Sec-
         retary-General, address to the Chairman of the Administrative Council
         a request in writing to appoint the arbitrator or arbitrators not yet
         appointed and to designate an arbitrator to be the President of the Tri-
         bunal.
             (2) The provision of paragraph (1) shall apply mutatis mutandis in
         the event that the parties have agreed that the arbitrators shall elect the
         President of the Tribunal and they fail to do so.
             (3) The Secretary-General shall forthwith send a copy of the
         request to the other party.



                                                                                105
Case 1:19-cv-01618-TSC                       Document 1-5          Filed 06/03/19        Page 106 of 128
                          (4) The Chairman shall use his best efforts to comply with that
                      request within 30 days after its receipt. Before he proceeds to make an
                      appointment or designation, with due regard to Articles 38 and 40(1) of
                      the Convention, he shall consult both parties as far as possible.
                          (5) The Secretary-General shall promptly notify the parties of any
                      appointment or designation made by the Chairman.

                                                   Rule 5
                                         Acceptance of Appointments
                           (1) The party or parties concerned shall notify the Secretary-Gen-
                      eral of the appointment of each arbitrator and indicate the method of
                      his appointment.
                           (2) As soon as the Secretary-General has been informed by a party
                      or the Chairman of the Administrative Council of the appointment of
                      an arbitrator, he shall seek an acceptance from the appointee.
                           (3) If an arbitrator fails to accept his appointment within 15 days,
                      the Secretary-General shall promptly notify the parties, and if appro-
                      priate the Chairman, and invite them to proceed to the appointment of
                      another arbitrator in accordance with the method followed for the pre-
                      vious appointment.

                                                     Rule 6
                                          Constitution of the Tribunal
                          (1) The Tribunal shall be deemed to be constituted and the pro-
                      ceeding to have begun on the date the Secretary-General notifies the
                      parties that all the arbitrators have accepted their appointment.
                          (2) Before or at the first session of the Tribunal, each arbitrator
                      shall sign a declaration in the following form:
                          “To the best of my knowledge there is no reason why I should not
                          serve on the Arbitral Tribunal constituted by the International
                          Centre for Settlement of Investment Disputes with respect to a dis-
  Arbitration Rules




                          pute between ___________________and___________________.
                          “I shall keep confidential all information coming to my knowledge
                          as a result of my participation in this proceeding, as well as the con-
                          tents of any award made by the Tribunal.
                          “I shall judge fairly as between the parties, according to the appli-
                          cable law, and shall not accept any instruction or compensation
                          with regard to the proceeding from any source except as provided
                          in the Convention on the Settlement of Investment Disputes
                          between States and Nationals of Other States and in the Regulations
                          and Rules made pursuant thereto.


                      106
Case 1:19-cv-01618-TSC          Document 1-5          Filed 06/03/19        Page 107 of 128
              “Attached is a statement of (a) my past and present professional,
              business and other relationships (if any) with the parties and (b)
              any other circumstance that might cause my reliability for inde-
              pendent judgment to be questioned by a party. I acknowledge that
              by signing this declaration, I assume a continuing obligation
              promptly to notify the Secretary-General of the Centre of any
              such relationship or circumstance that subsequently arises during
              this proceeding.”
              Any arbitrator failing to sign a declaration by the end of the first
         session of the Tribunal shall be deemed to have resigned.

                                      Rule 7
                             Replacement of Arbitrators
             At any time before the Tribunal is constituted, each party may
         replace any arbitrator appointed by it and the parties may by common
         consent agree to replace any arbitrator. The procedure of such replace-
         ment shall be in accordance with Rules 1, 5 and 6.

                                       Rule 8
                              Incapacity or Resignation
                                   of Arbitrators
             (1) If an arbitrator becomes incapacitated or unable to perform the
         duties of his office, the procedure in respect of the disqualification of
         arbitrators set forth in Rule 9 shall apply.
             (2) An arbitrator may resign by submitting his resignation to the
         other members of the Tribunal and the Secretary-General. If the arbi-
         trator was appointed by one of the parties, the Tribunal shall promptly
         consider the reasons for his resignation and decide whether it consents
         thereto. The Tribunal shall promptly notify the Secretary-General of its
         decision.

                                       Rule 9
                                                                                       Arbitration Rules




                           Disqualification of Arbitrators
             (1) A party proposing the disqualification of an arbitrator pur-
         suant to Article 57 of the Convention shall promptly, and in any event
         before the proceeding is declared closed, file its proposal with the Sec-
         retary-General, stating its reasons therefor.
             (2) The Secretary-General shall forthwith:
                 (a) transmit the proposal to the members of the Tribunal and,
                     if it relates to a sole arbitrator or to a majority of the mem-
                     bers of the Tribunal, to the Chairman of the Administrative
                     Council; and

                                                                                107
Case 1:19-cv-01618-TSC                      Document 1-5          Filed 06/03/19        Page 108 of 128
                               (b) notify the other party of the proposal.
                           (3) The arbitrator to whom the proposal relates may, without
                      delay, furnish explanations to the Tribunal or the Chairman, as the case
                      may be.
                           (4) Unless the proposal relates to a majority of the members of the
                      Tribunal, the other members shall promptly consider and vote on the
                      proposal in the absence of the arbitrator concerned. If those members
                      are equally divided, they shall, through the Secretary-General, promptly
                      notify the Chairman of the proposal, of any explanation furnished by
                      the arbitrator concerned and of their failure to reach a decision.
                           (5) Whenever the Chairman has to decide on a proposal to dis-
                      qualify an arbitrator, he shall use his best efforts to take that decision
                      within 30 days after he has received the proposal.
                           (6) The proceeding shall be suspended until a decision has been
                      taken on the proposal.

                                                    Rule 10
                                          Procedure during a Vacancy
                                                on the Tribunal
                           (1) The Secretary-General shall forthwith notify the parties and, if
                      necessary, the Chairman of the Administrative Council of the disquali-
                      fication, death, incapacity or resignation of an arbitrator and of the
                      consent, if any, of the Tribunal to a resignation.
                           (2) Upon the notification by the Secretary-General of a vacancy on
                      the Tribunal, the proceeding shall be or remain suspended until the
                      vacancy has been filled.

                                                     Rule 11
                                                Filling Vacancies
                                                 on the Tribunal
                          (1) Except as provided in paragraph (2), a vacancy resulting from
  Arbitration Rules




                      the disqualification, death, incapacity or resignation of an arbitrator
                      shall be promptly filled by the same method by which his appointment
                      had been made.
                          (2) In addition to filling vacancies relating to arbitrators appointed
                      by him, the Chairman of the Administrative Council shall appoint a
                      person from the Panel of Arbitrators:
                               (a) to fill a vacancy caused by the resignation, without the con-
                                   sent of the Tribunal, of an arbitrator appointed by a party;
                                   or



                      108
Case 1:19-cv-01618-TSC          Document 1-5           Filed 06/03/19         Page 109 of 128
                  (b) at the request of either party, to fill any other vacancy, if no
                      new appointment is made and accepted within 45 days of
                      the notification of the vacancy by the Secretary-General.
             (3) The procedure for filling a vacancy shall be in accordance with
         Rules 1, 4(4), 4(5), 5 and, mutatis mutandis, 6(2).

                                   Rule 12
                Resumption of Proceeding after Filling a Vacancy
             As soon as a vacancy on the Tribunal has been filled, the proceed-
         ing shall continue from the point it had reached at the time the vacancy
         occurred. The newly appointed arbitrator may, however, require that
         the oral procedure be recommenced, if this had already been started.


                                   Chapter II
                             Working of the Tribunal
                                        Rule 13
                                Sessions of the Tribunal
              (1) The Tribunal shall hold its first session within 60 days after its
         constitution or such other period as the parties may agree. The dates of
         that session shall be fixed by the President of the Tribunal after consul-
         tation with its members and the Secretary-General. If upon its consti-
         tution the Tribunal has no President because the parties have agreed
         that the President shall be elected by its members, the Secretary-General
         shall fix the dates of that session. In both cases, the parties shall be con-
         sulted as far as possible.
              (2) The dates of subsequent sessions shall be determined by the
         Tribunal, after consultation with the Secretary-General and with the
         parties as far as possible.
              (3) The Tribunal shall meet at the seat of the Centre or at such
                                                                                         Arbitration Rules




         other place as may have been agreed by the parties in accordance with
         Article 63 of the Convention. If the parties agree that the proceeding
         shall be held at a place other than the Centre or an institution with
         which the Centre has made the necessary arrangements, they shall con-
         sult with the Secretary-General and request the approval of the Tri-
         bunal. Failing such approval, the Tribunal shall meet at the seat of the
         Centre.
              (4) The Secretary-General shall notify the members of the Tribunal
         and the parties of the dates and place of the sessions of the Tribunal in
         good time.


                                                                                  109
Case 1:19-cv-01618-TSC                      Document 1-5          Filed 06/03/19        Page 110 of 128
                                                    Rule 14
                                            Sittings of the Tribunal
                           (1) The President of the Tribunal shall conduct its hearings and
                      preside at its deliberations.
                           (2) Except as the parties otherwise agree, the presence of a major-
                      ity of the members of the Tribunal shall be required at its sittings.
                           (3) The President of the Tribunal shall fix the date and hour of its
                      sittings.

                                                    Rule 15
                                         Deliberations of the Tribunal
                          (1) The deliberations of the Tribunal shall take place in private and
                      remain secret.
                          (2) Only members of the Tribunal shall take part in its delibera-
                      tions. No other person shall be admitted unless the Tribunal decides
                      otherwise.

                                                   Rule 16
                                           Decisions of the Tribunal
                          (1) Decisions of the Tribunal shall be taken by a majority of the
                      votes of all its members. Abstention shall count as a negative vote.
                          (2) Except as otherwise provided by these Rules or decided by the
                      Tribunal, it may take any decision by correspondence among its mem-
                      bers, provided that all of them are consulted. Decisions so taken shall be
                      certified by the President of the Tribunal.

                                                    Rule 17
                                          Incapacity of the President
                           If at any time the President of the Tribunal should be unable to act,
  Arbitration Rules




                      his functions shall be performed by one of the other members of the
                      Tribunal, acting in the order in which the Secretary-General had
                      received the notice of their acceptance of their appointment to the
                      Tribunal.

                                                  Rule 18
                                        Representation of the Parties
                          (1) Each party may be represented or assisted by agents, counsel or
                      advocates whose names and authority shall be notified by that party to
                      the Secretary-General, who shall promptly inform the Tribunal and the
                      other party.
                      110
Case 1:19-cv-01618-TSC          Document 1-5          Filed 06/03/19         Page 111 of 128
             (2) For the purposes of these Rules, the expression “party”
         includes, where the context so admits, an agent, counsel or advocate
         authorized to represent that party.


                                  Chapter III
                         General Procedural Provisions
                                         Rule 19
                                    Procedural Orders
             The Tribunal shall make the orders required for the conduct of the
         proceeding.

                                      Rule 20
                        Preliminary Procedural Consultation
             (1) As early as possible after the constitution of a Tribunal, its Pres-
         ident shall endeavor to ascertain the views of the parties regarding ques-
         tions of procedure. For this purpose he may request the parties to meet
         him. He shall, in particular, seek their views on the following matters:
                  (a) the number of members of the Tribunal required to consti-
                      tute a quorum at its sittings;
                  (b) the language or languages to be used in the proceeding;
                  (c) the number and sequence of the pleadings and the time
                      limits within which they are to be filed;
                  (d) the number of copies desired by each party of instruments
                      filed by the other;
                  (e) dispensing with the written or the oral procedure;
                  (f) the manner in which the cost of the proceeding is to be
                      apportioned; and
                  (g) the manner in which the record of the hearings shall be
                                                                                        Arbitration Rules




                      kept.
             (2) In the conduct of the proceeding the Tribunal shall apply any
         agreement between the parties on procedural matters, except as other-
         wise provided in the Convention or the Administrative and Financial
         Regulations.

                                       Rule 21
                                Pre-Hearing Conference
             (1) At the request of the Secretary-General or at the discretion of
         the President of the Tribunal, a pre-hearing conference between the Tri-

                                                                                 111
Case 1:19-cv-01618-TSC                       Document 1-5          Filed 06/03/19        Page 112 of 128
                      bunal and the parties may be held to arrange for an exchange of infor-
                      mation and the stipulation of uncontested facts in order to expedite the
                      proceeding.
                          (2) At the request of the parties, a pre-hearing conference between
                      the Tribunal and the parties, duly represented by their authorized rep-
                      resentatives, may be held to consider the issues in dispute with a view to
                      reaching an amicable settlement.

                                                    Rule 22
                                              Procedural Languages
                           (1) The parties may agree on the use of one or two languages to be
                      used in the proceeding, provided, that, if they agree on any language
                      that is not an official language of the Centre, the Tribunal, after consul-
                      tation with the Secretary-General, gives its approval. If the parties do
                      not agree on any such procedural language, each of them may select one
                      of the official languages (i.e., English, French and Spanish) for this
                      purpose.
                           (2) If two procedural languages are selected by the parties, any
                      instrument may be filed in either language. Either language may be used
                      at the hearings, subject, if the Tribunal so requires, to translation and
                      interpretation. The orders and the award of the Tribunal shall be ren-
                      dered and the record kept in both procedural languages, both versions
                      being equally authentic.

                                                    Rule 23
                                             Copies of Instruments
                          Except as otherwise provided by the Tribunal after consultation
                      with the parties and the Secretary-General, every request, pleading,
                      application, written observation, supporting documentation, if any, or
                      other instrument shall be filed in the form of a signed original accom-
                      panied by the following number of additional copies:
                              (a) before the number of members of the Tribunal has been
  Arbitration Rules




                                   determined: five;
                              (b) after the number of members of the Tribunal has been
                                   determined: two more than the number of its members.

                                                   Rule 24
                                          Supporting Documentation
                           Supporting documentation shall ordinarily be filed together with
                      the instrument to which it relates, and in any case within the time limit
                      fixed for the filing of such instrument.


                      112
Case 1:19-cv-01618-TSC          Document 1-5          Filed 06/03/19        Page 113 of 128
                                        Rule 25
                                  Correction of Errors
             An accidental error in any instrument or supporting document
         may, with the consent of the other party or by leave of the Tribunal, be
         corrected at any time before the award is rendered.

                                         Rule 26
                                       Time Limits
              (1) Where required, time limits shall be fixed by the Tribunal by
         assigning dates for the completion of the various steps in the proceed-
         ing. The Tribunal may delegate this power to its President.
              (2) The Tribunal may extend any time limit that it has fixed. If the
         Tribunal is not in session, this power shall be exercised by its President.
              (3) Any step taken after expiration of the applicable time limit shall
         be disregarded unless the Tribunal, in special circumstances and after
         giving the other party an opportunity of stating its views, decides
         otherwise.

                                         Rule 27
                                         Waiver
              A party which knows or should have known that a provision of the
         Administrative and Financial Regulations, of these Rules, of any other
         rules or agreement applicable to the proceeding, or of an order of the
         Tribunal has not been complied with and which fails to state promptly
         its objections thereto, shall be deemed—subject to Article 45 of the
         Convention—to have waived its right to object.

                                       Rule 28
                                  Cost of Proceeding
             (1) Without prejudice to the final decision on the payment of the
                                                                                       Arbitration Rules




         cost of the proceeding, the Tribunal may, unless otherwise agreed by the
         parties, decide:
                  (a) at any stage of the proceeding, the portion which each
                      party shall pay, pursuant to Administrative and Financial
                      Regulation 14, of the fees and expenses of the Tribunal and
                      the charges for the use of the facilities of the Centre;
                  (b) with respect to any part of the proceeding, that the related
                      costs (as determined by the Secretary-General) shall be
                      borne entirely or in a particular share by one of the parties.



                                                                                113
Case 1:19-cv-01618-TSC                      Document 1-5         Filed 06/03/19        Page 114 of 128
                          (2) Promptly after the closure of the proceeding, each party shall
                      submit to the Tribunal a statement of costs reasonably incurred or
                      borne by it in the proceeding and the Secretary-General shall submit to
                      the Tribunal an account of all amounts paid by each party to the Centre
                      and of all costs incurred by the Centre for the proceeding. The Tribunal
                      may, before the award has been rendered, request the parties and the
                      Secretary-General to provide additional information concerning the
                      cost of the proceeding.


                                              Chapter IV
                                      Written and Oral Procedures
                                                   Rule 29
                                               Normal Procedures
                          Except if the parties otherwise agree, the proceeding shall comprise
                      two distinct phases: a written procedure followed by an oral one.

                                                   Rule 30
                                         Transmission of the Request
                           As soon as the Tribunal is constituted, the Secretary-General shall
                      transmit to each member a copy of the request by which the proceed-
                      ing was initiated, of the supporting documentation, of the notice of reg-
                      istration and of any communication received from either party in
                      response thereto.

                                                    Rule 31
                                             The Written Procedure
                          (1) In addition to the request for arbitration, the written procedure
                      shall consist of the following pleadings, filed within time limits set by
                      the Tribunal:
  Arbitration Rules




                               (a) a memorial by the requesting party;
                               (b) a counter-memorial by the other party;
                      and, if the parties so agree or the Tribunal deems it necessary:
                               (c) a reply by the requesting party; and
                               (d) a rejoinder by the other party.
                          (2) If the request was made jointly, each party shall, within the
                      same time limit determined by the Tribunal, file its memorial and, if the
                      parties so agree or the Tribunal deems it necessary, its reply; however,



                      114
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19        Page 115 of 128
         the parties may instead agree that one of them shall, for the purposes of
         paragraph (1), be considered as the requesting party.
              (3) A memorial shall contain: a statement of the relevant facts; a
         statement of law; and the submissions. A counter-memorial, reply or
         rejoinder shall contain an admission or denial of the facts stated in the
         last previous pleading; any additional facts, if necessary; observations
         concerning the statement of law in the last previous pleading; a state-
         ment of law in answer thereto; and the submissions.

                                       Rule 32
                                  The Oral Procedure
              (1) The oral procedure shall consist of the hearing by the Tribunal
         of the parties, their agents, counsel and advocates, and of witnesses and
         experts.
              (2) Unless either party objects, the Tribunal, after consultation
         with the Secretary-General, may allow other persons, besides the par-
         ties, their agents, counsel and advocates, witnesses and experts during
         their testimony, and officers of the Tribunal, to attend or observe all or
         part of the hearings, subject to appropriate logistical arrangements. The
         Tribunal shall for such cases establish procedures for the protection of
         proprietary or privileged information.
              (3) The members of the Tribunal may, during the hearings, put
         questions to the parties, their agents, counsel and advocates, and ask
         them for explanations.

                                       Rule 33
                               Marshalling of Evidence
              Without prejudice to the rules concerning the production of docu-
         ments, each party shall, within time limits fixed by the Tribunal, com-
         municate to the Secretary-General, for transmission to the Tribunal and
         the other party, precise information regarding the evidence which it
         intends to produce and that which it intends to request the Tribunal to
                                                                                      Arbitration Rules




         call for, together with an indication of the points to which such evi-
         dence will be directed.

                                      Rule 34
                            Evidence: General Principles
             (1) The Tribunal shall be the judge of the admissibility of any evi-
         dence adduced and of its probative value.
             (2) The Tribunal may, if it deems it necessary at any stage of the
         proceeding:


                                                                               115
Case 1:19-cv-01618-TSC                       Document 1-5        Filed 06/03/19        Page 116 of 128
                               (a) call upon the parties to produce documents, witnesses and
                                   experts; and
                               (b) visit any place connected with the dispute or conduct
                                   inquiries there.
                          (3) The parties shall cooperate with the Tribunal in the production
                      of the evidence and in the other measures provided for in paragraph
                      (2). The Tribunal shall take formal note of the failure of a party to
                      comply with its obligations under this paragraph and of any reasons
                      given for such failure.
                          (4) Expenses incurred in producing evidence and in taking other
                      measures in accordance with paragraph (2) shall be deemed to consti-
                      tute part of the expenses incurred by the parties within the meaning of
                      Article 61(2) of the Convention.

                                                  Rule 35
                                    Examination of Witnesses and Experts
                           (1) Witnesses and experts shall be examined before the Tribunal by
                      the parties under the control of its President. Questions may also be put
                      to them by any member of the Tribunal.
                           (2) Each witness shall make the following declaration before giving
                      his evidence:
                           “I solemnly declare upon my honour and conscience that I shall
                           speak the truth, the whole truth and nothing but the truth.”
                           (3) Each expert shall make the following declaration before making
                      his statement:
                           “I solemnly declare upon my honour and conscience that my state-
                           ment will be in accordance with my sincere belief.”

                                                  Rule 36
                                     Witnesses and Experts: Special Rules
  Arbitration Rules




                            Notwithstanding Rule 35 the Tribunal may:
                               (a) admit evidence given by a witness or expert in a written
                                   deposition; and
                               (b) with the consent of both parties, arrange for the examina-
                                   tion of a witness or expert otherwise than before the Tri-
                                   bunal itself. The Tribunal shall define the subject of the
                                   examination, the time limit, the procedure to be followed
                                   and other particulars. The parties may participate in the
                                   examination.



                      116
Case 1:19-cv-01618-TSC          Document 1-5          Filed 06/03/19        Page 117 of 128
                                      Rule 37
                               Visits and Inquiries;
                       Submissions of Non-disputing Parties
             (1) If the Tribunal considers it necessary to visit any place con-
         nected with the dispute or to conduct an inquiry there, it shall make an
         order to this effect. The order shall define the scope of the visit or the
         subject of the inquiry, the time limit, the procedure to be followed and
         other particulars. The parties may participate in any visit or inquiry.
             (2) After consulting both parties, the Tribunal may allow a person
         or entity that is not a party to the dispute (in this Rule called the “non-
         disputing party”) to file a written submission with the Tribunal regard-
         ing a matter within the scope of the dispute. In determining whether to
         allow such a filing, the Tribunal shall consider, among other things, the
         extent to which:
                  (a) the non-disputing party submission would assist the Tri-
                      bunal in the determination of a factual or legal issue related
                      to the proceeding by bringing a perspective, particular
                      knowledge or insight that is different from that of the dis-
                      puting parties;
                  (b) the non-disputing party submission would address a
                      matter within the scope of the dispute;
                  (c) the non-disputing party has a significant interest in the
                      proceeding.
             The Tribunal shall ensure that the non-disputing party submission
         does not disrupt the proceeding or unduly burden or unfairly prejudice
         either party, and that both parties are given an opportunity to present
         their observations on the non-disputing party submission.

                                       Rule 38
                              Closure of the Proceeding
              (1) When the presentation of the case by the parties is completed,
                                                                                       Arbitration Rules




         the proceeding shall be declared closed.
              (2) Exceptionally, the Tribunal may, before the award has been ren-
         dered, reopen the proceeding on the ground that new evidence is forth-
         coming of such a nature as to constitute a decisive factor, or that there
         is a vital need for clarification on certain specific points.




                                                                                117
Case 1:19-cv-01618-TSC                       Document 1-5          Filed 06/03/19        Page 118 of 128
                                                  Chapter V
                                            Particular Procedures
                                                     Rule 39
                                              Provisional Measures
                          (1) At any time after the institution of the proceeding, a party may
                      request that provisional measures for the preservation of its rights be
                      recommended by the Tribunal. The request shall specify the rights to be
                      preserved, the measures the recommendation of which is requested,
                      and the circumstances that require such measures.
                          (2) The Tribunal shall give priority to the consideration of a
                      request made pursuant to paragraph (1).
                          (3) The Tribunal may also recommend provisional measures on its
                      own initiative or recommend measures other than those specified in a
                      request. It may at any time modify or revoke its recommendations.
                          (4) The Tribunal shall only recommend provisional measures, or
                      modify or revoke its recommendations, after giving each party an
                      opportunity of presenting its observations.
                          (5) If a party makes a request pursuant to paragraph (1) before the
                      constitution of the Tribunal, the Secretary-General shall, on the appli-
                      cation of either party, fix time limits for the parties to present observa-
                      tions on the request, so that the request and observations may be
                      considered by the Tribunal promptly upon its constitution.
                          (6) Nothing in this Rule shall prevent the parties, provided that
                      they have so stipulated in the agreement recording their consent, from
                      requesting any judicial or other authority to order provisional meas-
                      ures, prior to or after the institution of the proceeding, for the preser-
                      vation of their respective rights and interests.

                                                     Rule 40
                                                 Ancillary Claims
  Arbitration Rules




                          (1) Except as the parties otherwise agree, a party may present an
                      incidental or additional claim or counter-claim arising directly out of
                      the subject-matter of the dispute, provided that such ancillary claim is
                      within the scope of the consent of the parties and is otherwise within
                      the jurisdiction of the Centre.
                          (2) An incidental or additional claim shall be presented not later
                      than in the reply and a counter-claim no later than in the counter-
                      memorial, unless the Tribunal, upon justification by the party present-
                      ing the ancillary claim and upon considering any objection of the other
                      party, authorizes the presentation of the claim at a later stage in the
                      proceeding.

                      118
Case 1:19-cv-01618-TSC          Document 1-5          Filed 06/03/19         Page 119 of 128
             (3) The Tribunal shall fix a time limit within which the party
         against which an ancillary claim is presented may file its observations
         thereon.

                                       Rule 41
                                Preliminary Objections
              (1) Any objection that the dispute or any ancillary claim is not
         within the jurisdiction of the Centre or, for other reasons, is not within
         the competence of the Tribunal shall be made as early as possible. A
         party shall file the objection with the Secretary-General no later than
         the expiration of the time limit fixed for the filing of the counter-
         memorial, or, if the objection relates to an ancillary claim, for the filing
         of the rejoinder—unless the facts on which the objection is based are
         unknown to the party at that time.
              (2) The Tribunal may on its own initiative consider, at any stage of
         the proceeding, whether the dispute or any ancillary claim before it is
         within the jurisdiction of the Centre and within its own competence.
              (3) Upon the formal raising of an objection relating to the dispute,
         the Tribunal may decide to suspend the proceeding on the merits. The
         President of the Tribunal, after consultation with its other members,
         shall fix a time limit within which the parties may file observations on
         the objection.
              (4) The Tribunal shall decide whether or not the further proce-
         dures relating to the objection made pursuant to paragraph (1) shall be
         oral. It may deal with the objection as a preliminary question or join it
         to the merits of the dispute. If the Tribunal overrules the objection or
         joins it to the merits, it shall once more fix time limits for the further
         procedures.
              (5) Unless the parties have agreed to another expedited procedure
         for making preliminary objections, a party may, no later than 30 days
         after the constitution of the Tribunal, and in any event before the first
         session of the Tribunal, file an objection that a claim is manifestly with-
                                                                                        Arbitration Rules



         out legal merit. The party shall specify as precisely as possible the basis
         for the objection. The Tribunal, after giving the parties the opportunity
         to present their observations on the objection, shall, at its first session
         or promptly thereafter, notify the parties of its decision on the objec-
         tion. The decision of the Tribunal shall be without prejudice to the right
         of a party to file an objection pursuant to paragraph (1) or to object, in
         the course of the proceeding, that a claim lacks legal merit.
              (6) If the Tribunal decides that the dispute is not within the juris-
         diction of the Centre or not within its own competence, or that all
         claims are manifestly without legal merit, it shall render an award to
         that effect.


                                                                                 119
Case 1:19-cv-01618-TSC                       Document 1-5           Filed 06/03/19         Page 120 of 128
                                                       Rule 42
                                                       Default
                           (1) If a party (in this Rule called the “defaulting party”) fails to
                      appear or to present its case at any stage of the proceeding, the other
                      party may, at any time prior to the discontinuance of the proceeding,
                      request the Tribunal to deal with the questions submitted to it and to
                      render an award.
                           (2) The Tribunal shall promptly notify the defaulting party of such
                      a request. Unless it is satisfied that that party does not intend to appear
                      or to present its case in the proceeding, it shall, at the same time, grant
                      a period of grace and to this end:
                               (a) if that party had failed to file a pleading or any other instru-
                                   ment within the time limit fixed therefor, fix a new time
                                   limit for its filing; or
                               (b) if that party had failed to appear or present its case at a
                                   hearing, fix a new date for the hearing.
                           The period of grace shall not, without the consent of the other
                      party, exceed 60 days.
                           (3) After the expiration of the period of grace or when, in accor-
                      dance with paragraph (2), no such period is granted, the Tribunal shall
                      resume the consideration of the dispute. Failure of the defaulting party
                      to appear or to present its case shall not be deemed an admission of the
                      assertions made by the other party.
                           (4) The Tribunal shall examine the jurisdiction of the Centre and
                      its own competence in the dispute and, if it is satisfied, decide whether
                      the submissions made are well-founded in fact and in law. To this end,
                      it may, at any stage of the proceeding, call on the party appearing to file
                      observations, produce evidence or submit oral explanations.

                                                   Rule 43
                                        Settlement and Discontinuance
  Arbitration Rules




                           (1) If, before the award is rendered, the parties agree on a settle-
                      ment of the dispute or otherwise to discontinue the proceeding, the Tri-
                      bunal, or the Secretary-General if the Tribunal has not yet been
                      constituted, shall, at their written request, in an order take note of the
                      discontinuance of the proceeding.
                           (2) If the parties file with the Secretary-General the full and signed
                      text of their settlement and in writing request the Tribunal to embody
                      such settlement in an award, the Tribunal may record the settlement in
                      the form of its award.



                      120
Case 1:19-cv-01618-TSC          Document 1-5          Filed 06/03/19         Page 121 of 128
                                     Rule 44
                       Discontinuance at Request of a Party
              If a party requests the discontinuance of the proceeding, the Tri-
         bunal, or the Secretary-General if the Tribunal has not yet been consti-
         tuted, shall in an order fix a time limit within which the other party may
         state whether it opposes the discontinuance. If no objection is made in
         writing within the time limit, the other party shall be deemed to have
         acquiesced in the discontinuance and the Tribunal, or if appropriate the
         Secretary-General, shall in an order take note of the discontinuance of
         the proceeding. If objection is made, the proceeding shall continue.

                                       Rule 45
                              Discontinuance for Failure
                                   of Parties to Act
              If the parties fail to take any steps in the proceeding during six con-
         secutive months or such period as they may agree with the approval of
         the Tribunal, or of the Secretary-General if the Tribunal has not yet
         been constituted, they shall be deemed to have discontinued the pro-
         ceeding and the Tribunal, or if appropriate the Secretary-General, shall,
         after notice to the parties, in an order take note of the discontinuance.


                                       Chapter VI
                                       The Award
                                       Rule 46
                               Preparation of the Award
            The award (including any individual or dissenting opinion) shall be
         drawn up and signed within 120 days after closure of the proceeding.
         The Tribunal may, however, extend this period by a further 60 days if it
         would otherwise be unable to draw up the award.
                                                                                        Arbitration Rules




                                         Rule 47
                                        The Award
             (1) The award shall be in writing and shall contain:
                 (a) a precise designation of each party;
                 (b) a statement that the Tribunal was established under the
                     Convention, and a description of the method of its consti-
                     tution;



                                                                                 121
Case 1:19-cv-01618-TSC                      Document 1-5         Filed 06/03/19        Page 122 of 128
                              (c) the name of each member of the Tribunal, and an identifi-
                                    cation of the appointing authority of each;
                              (d) the names of the agents, counsel and advocates of the
                                    parties;
                              (e) the dates and place of the sittings of the Tribunal;
                              (f) a summary of the proceeding;
                              (g) a statement of the facts as found by the Tribunal;
                              (h) the submissions of the parties;
                              (i) the decision of the Tribunal on every question submitted to
                                    it, together with the reasons upon which the decision is
                                    based; and
                              (j) any decision of the Tribunal regarding the cost of the
                                    proceeding.
                          (2) The award shall be signed by the members of the Tribunal who
                      voted for it; the date of each signature shall be indicated.
                          (3) Any member of the Tribunal may attach his individual opinion
                      to the award, whether he dissents from the majority or not, or a state-
                      ment of his dissent.

                                                   Rule 48
                                            Rendering of the Award
                          (1) Upon signature by the last arbitrator to sign, the Secretary-
                      General shall promptly:
                              (a) authenticate the original text of the award and deposit it in
                                   the archives of the Centre, together with any individual
                                   opinions and statements of dissent; and
                              (b) dispatch a certified copy of the award (including individual
                                   opinions and statements of dissent) to each party, indicat-
                                   ing the date of dispatch on the original text and on all
                                   copies.
  Arbitration Rules




                          (2) The award shall be deemed to have been rendered on the date
                      on which the certified copies were dispatched.
                          (3) The Secretary-General shall, upon request, make available to a
                      party additional certified copies of the award.
                          (4) The Centre shall not publish the award without the consent of
                      the parties. The Centre shall, however, promptly include in its publica-
                      tions excerpts of the legal reasoning of the Tribunal.




                      122
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19        Page 123 of 128
                                   Rule 49
                   Supplementary Decisions and Rectification
             (1) Within 45 days after the date on which the award was rendered,
         either party may request, pursuant to Article 49(2) of the Convention,
         a supplementary decision on, or the rectification of, the award. Such a
         request shall be addressed in writing to the Secretary-General. The
         request shall:
                  (a) identify the award to which it relates;
                  (b) indicate the date of the request;
                  (c) state in detail:
                      (i) any question which, in the opinion of the requesting
                           party, the Tribunal omitted to decide in the award; and
                      (ii) any error in the award which the requesting party
                           seeks to have rectified; and
                  (d) be accompanied by a fee for lodging the request.
             (2) Upon receipt of the request and of the lodging fee, the Secre-
         tary-General shall forthwith:
                  (a) register the request;
                  (b) notify the parties of the registration;
                  (c) transmit to the other party a copy of the request and of any
                      accompanying documentation; and
                  (d) transmit to each member of the Tribunal a copy of the
                      notice of registration, together with a copy of the request
                      and of any accompanying documentation.
             (3) The President of the Tribunal shall consult the members on
         whether it is necessary for the Tribunal to meet in order to consider the
         request. The Tribunal shall fix a time limit for the parties to file their
         observations on the request and shall determine the procedure for its
         consideration.
             (4) Rules 46-48 shall apply, mutatis mutandis, to any decision of the
                                                                                      Arbitration Rules




         Tribunal pursuant to this Rule.
             (5) If a request is received by the Secretary-General more than 45
         days after the award was rendered, he shall refuse to register the request
         and so inform forthwith the requesting party.




                                                                               123
Case 1:19-cv-01618-TSC                      Document 1-5          Filed 06/03/19        Page 124 of 128
                                              Chapter VII
                                      Interpretation, Revision and
                                        Annulment of the Award
                                                     Rule 50
                                                 The Application
                          (1) An application for the interpretation, revision or annulment of
                      an award shall be addressed in writing to the Secretary-General and
                      shall:
                              (a) identify the award to which it relates;
                              (b) indicate the date of the application;
                              (c) state in detail:
                                   (i) in an application for interpretation, the precise points
                                         in dispute;
                                   (ii) in an application for revision, pursuant to Article
                                         51(1) of the Convention, the change sought in the
                                         award, the discovery of some fact of such a nature as
                                         decisively to affect the award, and evidence that when
                                         the award was rendered that fact was unknown to the
                                         Tribunal and to the applicant, and that the applicant’s
                                         ignorance of that fact was not due to negligence;
                                   (iii) in an application for annulment, pursuant to Article
                                         52(1) of the Convention, the grounds on which it is
                                         based. These grounds are limited to the following:
                                         – that the Tribunal was not properly constituted;
                                         – that the Tribunal has manifestly exceeded its powers;
                                         – that there was corruption on the part of a member
                                           of the Tribunal;
                                         – that there has been a serious departure from a fun-
                                           damental rule of procedure;
  Arbitration Rules




                                         – that the award has failed to state the reasons on
                                           which it is based;
                              (d) be accompanied by the payment of a fee for lodging the
                                   application.
                          (2) Without prejudice to the provisions of paragraph (3), upon
                      receiving an application and the lodging fee, the Secretary-General shall
                      forthwith:
                              (a) register the application;
                              (b) notify the parties of the registration; and


                      124
Case 1:19-cv-01618-TSC          Document 1-5          Filed 06/03/19        Page 125 of 128
                  (c) transmit to the other party a copy of the application and of
                       any accompanying documentation.
              (3) The Secretary-General shall refuse to register an application for:
                  (a) revision, if, in accordance with Article 51(2) of the Con-
                       vention, it is not made within 90 days after the discovery of
                       the new fact and in any event within three years after the
                       date on which the award was rendered (or any subsequent
                       decision or correction);
                  (b) annulment, if, in accordance with Article 52(2) of the Con-
                       vention, it is not made:
                       (i) within 120 days after the date on which the award was
                            rendered (or any subsequent decision or correction) if
                            the application is based on any of the following
                            grounds:
                            – the Tribunal was not properly constituted;
                            – the Tribunal has manifestly exceeded its powers;
                            – there has been a serious departure from a funda-
                               mental rule of procedure;
                            – the award has failed to state the reasons on which it
                               is based;
                       (ii) in the case of corruption on the part of a member of
                            the Tribunal, within 120 days after discovery thereof,
                            and in any event within three years after the date on
                            which the award was rendered (or any subsequent
                            decision or correction).
              (4) If the Secretary-General refuses to register an application for
         revision, or annulment, he shall forthwith notify the requesting party of
         his refusal.

                                      Rule 51
                             Interpretation or Revision:
                                                                                       Arbitration Rules




                                 Further Procedures
             (1) Upon registration of an application for the interpretation or
         revision of an award, the Secretary-General shall forthwith:
                 (a) transmit to each member of the original Tribunal a copy of
                      the notice of registration, together with a copy of the appli-
                      cation and of any accompanying documentation; and
                 (b) request each member of the Tribunal to inform him within
                      a specified time limit whether that member is willing to
                      take part in the consideration of the application.


                                                                                125
Case 1:19-cv-01618-TSC                       Document 1-5          Filed 06/03/19        Page 126 of 128
                          (2) If all members of the Tribunal express their willingness to take
                      part in the consideration of the application, the Secretary-General shall
                      so notify the members of the Tribunal and the parties. Upon dispatch
                      of these notices the Tribunal shall be deemed to be reconstituted.
                          (3) If the Tribunal cannot be reconstituted in accordance with
                      paragraph (2), the Secretary-General shall so notify the parties and
                      invite them to proceed, as soon as possible, to constitute a new Tribunal,
                      including the same number of arbitrators, and appointed by the same
                      method, as the original one.

                                                  Rule 52
                                        Annulment: Further Procedures
                          (1) Upon registration of an application for the annulment of an
                      award, the Secretary-General shall forthwith request the Chairman of
                      the Administrative Council to appoint an ad hoc Committee in accor-
                      dance with Article 52(3) of the Convention.
                          (2) The Committee shall be deemed to be constituted on the date
                      the Secretary-General notifies the parties that all members have
                      accepted their appointment. Before or at the first session of the Com-
                      mittee, each member shall sign a declaration conforming to that set
                      forth in Rule 6(2).

                                                    Rule 53
                                               Rules of Procedure
                          The provisions of these Rules shall apply mutatis mutandis to any
                      procedure relating to the interpretation, revision or annulment of an
                      award and to the decision of the Tribunal or Committee.

                                                     Rule 54
                                              Stay of Enforcement
                                                  of the Award
  Arbitration Rules




                          (1) The party applying for the interpretation, revision or annul-
                      ment of an award may in its application, and either party may at any
                      time before the final disposition of the application, request a stay in the
                      enforcement of part or all of the award to which the application relates.
                      The Tribunal or Committee shall give priority to the consideration of
                      such a request.
                          (2) If an application for the revision or annulment of an award
                      contains a request for a stay of its enforcement, the Secretary-General
                      shall, together with the notice of registration, inform both parties of the
                      provisional stay of the award. As soon as the Tribunal or Committee is
                      constituted it shall, if either party requests, rule within 30 days on

                      126
Case 1:19-cv-01618-TSC         Document 1-5          Filed 06/03/19        Page 127 of 128
         whether such stay should be continued; unless it decides to continue the
         stay, it shall automatically be terminated.
              (3) If a stay of enforcement has been granted pursuant to para-
         graph (1) or continued pursuant to paragraph (2), the Tribunal or
         Committee may at any time modify or terminate the stay at the request
         of either party. All stays shall automatically terminate on the date on
         which a final decision is rendered on the application, except that a
         Committee granting the partial annulment of an award may order the
         temporary stay of enforcement of the unannulled portion in order to
         give either party an opportunity to request any new Tribunal consti-
         tuted pursuant to Article 52(6) of the Convention to grant a stay pur-
         suant to Rule 55(3).
              (4) A request pursuant to paragraph (1), (2) (second sentence) or
         (3) shall specify the circumstances that require the stay or its modifica-
         tion or termination. A request shall only be granted after the Tribunal
         or Committee has given each party an opportunity of presenting its
         observations.
              (5) The Secretary-General shall promptly notify both parties of the
         stay of enforcement of any award and of the modification or termina-
         tion of such a stay, which shall become effective on the date on which
         he dispatches such notification.

                                      Rule 55
                              Resubmission of Dispute
                                after an Annulment
             (1) If a Committee annuls part or all of an award, either party may
         request the resubmission of the dispute to a new Tribunal. Such a
         request shall be addressed in writing to the Secretary-General and shall:
                 (a) identify the award to which it relates;
                 (b) indicate the date of the request;
                 (c) explain in detail what aspect of the dispute is to be submit-
                      ted to the Tribunal; and
                                                                                      Arbitration Rules




                 (d) be accompanied by a fee for lodging the request.
             (2) Upon receipt of the request and of the lodging fee, the Secre-
         tary-General shall forthwith:
                 (a) register it in the Arbitration Register;
                 (b) notify both parties of the registration;
                 (c) transmit to the other party a copy of the request and of any
                      accompanying documentation; and
                 (d) invite the parties to proceed, as soon as possible, to consti-
                      tute a new Tribunal, including the same number of arbi-

                                                                               127
Case 1:19-cv-01618-TSC                      Document 1-5         Filed 06/03/19       Page 128 of 128
                                   trators, and appointed by the same method, as the original
                                   one.
                          (3) If the original award had only been annulled in part, the new
                      Tribunal shall not reconsider any portion of the award not so annulled.
                      It may, however, in accordance with the procedures set forth in Rule 54,
                      stay or continue to stay the enforcement of the unannulled portion of
                      the award until the date its own award is rendered.
                          (4) Except as otherwise provided in paragraphs (1)–(3), these
                      Rules shall apply to a proceeding on a resubmitted dispute in the same
                      manner as if such dispute had been submitted pursuant to the Institu-
                      tion Rules.


                                               Chapter VIII
                                             General Provisions
                                                    Rule 56
                                                Final Provisions
                          (1) The texts of these Rules in each official language of the Centre
                      shall be equally authentic.
                          (2) These Rules may be cited as the “Arbitration Rules” of the
                      Centre.
  Arbitration Rules




                      128
